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                                             AFFIDAVIT

 Special Agent Brenna McIntosh, being duly sworn, states as follows:

        1.      I am a Special Agent of the Drug Enforcement Administration (DEA), and have

             been so employed for over 19 years. Throughout my career, I have been the case

             agent on numerous complex drug investigations involving search warrants, arrest

             warrants, and seizure warrants. Over the past 19 years, I have investigated a variety

             of drug criminal cases.

        2.      As a Special Agent employed by the DEA, I am authorized to investigate

             violations of Title 21, United States Code (U.S.C.), Sections 841(a)(1), 841(b)(1)(C),

             843, and 846. These violations, and others discussed below, are being investigated in

             this case to determine if controlled substances are being inappropriately dispensed.

             With the assistance of the Internal Revenue Service-Criminal Investigation (IRS-CI),

             the DEA is also investigating alleged federal offenses involving Title 31, U.S.C.

             Sections 5324 and 5313 (Structuring), and Title 18, U.S.C. Sections 1956 and 1957

             (Money Laundering), by Howard S. Weiss, M.D. with the specified unlawful activity

             of the distribution and/or dispensing of controlled substances without a legitimate

             medical purpose, which is a violation of Title 21, U.S.C. Section 841.

        3.      I am currently assigned to the DEA Denver Division Tactical Diversion Squad

             (TDS). The TDS investigates and prepares for prosecution cases against suspected

             violators of the Controlled Substances Act, Code of Federal Regulations (21 CFR),

             and other appropriate federal or state statutes pertaining to the diversion of

             pharmaceuticals and chemicals. This unique group combines the resources of DEA

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           (both Special Agents and Diversion Investigators) with other federal, state, and local

           law enforcement agencies in an innovative effort to investigate those involved in

           diversion schemes. The TDS investigates "doctor shoppers," prescription forgers, and

           prevalent retail-level violators in order to disrupt diversion at the registrant level

           (practitioners, pharmacies, chemical handlers, etc). The TDS develops sources of

           information and disseminates intelligence to appropriate elements for the

           development of leads and targets. They also participate in law enforcement authority

           activities as required (e.g., purchase of evidence/purchase of information, conducting

           surveillance, conducting undercover operations, making arrests, and executing

           search/seizure warrants).

      4.       Information contained in this Affidavit is a compilation of investigative work

           communicated verbally and in writing to me. It should be noted that I have not

           attempted to provide every detail of this investigation in a single affidavit due to the

           length and magnitude of this case. The information contained herein is an attempt to

           provide a summarized version of the investigation.

                                            INTRODUCTION

      5.       This Affidavit is made in support of an application for a warrant to search the

           business premises of Dr. Howard S. Weiss, MD. Dr. Weiss conducts business at

           6900 E. Belleview Avenue, Suite 205, Greenwood Village, Colorado 80111, more

           fully described in Attachment A, attached hereto and fully incorporated herein.

      6.       I seek to search the location mentioned above for property that constitutes

           evidence of the commission of criminal offenses, contraband, the fruits of a crime, or

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           things otherwise criminally possessed, or property or computerized information,

           storage media or paper documentation designed or intended for, or which is or has

           been used as the means of committing, facilitating, or concealing a criminal offense,

           in violation of Title 21, United States Code (U.S.C.), Sections 841(a)(1),

           841(b)(1)(C), 843, and 846 (Controlled Substances Violations) in further violation of

           21 Code of Federal Regulations (CFR) '' 1306.04 and 1306.05; in violation of Title

           31, U.S.C. Sections 5324 and 5313 (Structuring); and in violation of Title 18, U.S.C.

           Sections 1956 and 1957 (Money Laundering). Violations of Title 21, United States

           Code, Sections 841 (a)(1), 841 (b)(1)(C), 843, and 846, and Title 21 Code of Federal

           Regulations (CFR) '' 1306.04 and 1306.05 are being investigated in this case to

           determine if controlled substances are being illegally dispensed. Items sought to be

           seized are listed in Attachment B.

      7.      Information developed during the investigation revealed that the above-mentioned

           location contains medical records associated with Dr. Weiss’s medical practice

           including medical records, private insurance records, scheduling records, billing

           records, and patient medical charts. Such records, as described herein, are usually

           maintained both in hardcopy form and on computer systems. The records will show

           Dr. Weiss dispensed controlled substances without a legitimate medical purpose.

      8.      Additionally, because Dr. Weiss conducts his practice from the location described

           in Attachment A, I believe financial records will be located on the premises that will

           demonstrate the flow of monies associated with the illegal dispensing of controlled

           substances.

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         9.       This affidavit also supports applications for seizure warrants for the following

               assets, pursuant to 21 U.S.C. § 881(a)(6), 18 U.S.C. § 981(a)(1)(A) and (C), and 31

               U.S.C. § 5317:

                  A.       All funds held in Bank of the West account # 40936981 in the name of

                       Howard S. Weiss, M.D.;

                  B.       All funds up to $840,347.10 held in Merrill Lynch account #85A-15623 in

                       the name of Howard Weiss;

                  C.       All funds held in Merrill Lynch account #85A-15733 in the name of

                       Howard Weiss; and

                  D.       All funds held in Merrill Lynch account #85A-83997 in the name of

                       Howard Weiss.

         10.      As set forth herein, there is probable cause to believe that the funds held in the

               financial accounts identified above constitute proceeds from Dr. Weiss’ distribution

               and dispensing of controlled substances without a legitimate medical purpose and

               outside the usual course of professional practice. In addition, there is probable cause

               to believe that the funds held in the financial accounts identified above are property

               involved in money laundering.

                                     BACKGROUND OF INVESTIGATION


         11.      On the morning of November 10, 2016, Jared DeHaan1 was found unresponsive in

               his bathroom by his fiancée, Tiffany Nagao, and “911” was called. Jared DeHaan was


 1
  Consulting expert Dr. Mark Walter, M.D., identified Jared DeHaan as one of many patient cases below, based only
 upon his review of PDMP data, for the purpose of identifying any patterns of prescribing behavior which, within a
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                living with Tiffany Nagao at Tiffany Nagao's family's residence in Castle Rock,

                Colorado at the time. Taylor Nagao (Tiffany's sister) performed CPR on DeHaan

                until Douglas County Sheriff's Officers responded to the residence in reference to a

                medical assist. Emergency Medical Services (EMS) arrived shortly thereafter;

                however, they were unable to revive DeHaan, who was pronounced dead at 11:22

                a.m. on November 10, 2016. Investigators found a piece of foil with burnt

                residue and a rolled up dollar bill with brown residue on the end in the bathroom with

                DeHaan. The coroner’s report lists DeHaan's cause of death as combined drug

                intoxication with the toxicological evidence of heroin along with other medications in

                the peripheral blood. Douglas County Sheriff's Office Detectives shared what they

                learned during the death investigation of DeHaan with the Drug Enforcement

                Administration.

          12.      Douglas County Sheriff's Officers and Detectives, and later DEA Agents, learned

                from interviews with DeHaan's family members that DeHaan was abusing opiates,

                including prescription opiates and heroin, for several years and his addiction began

                after suffering from pancreatitis several times during high school. DeHaan was

                seeing addiction psychiatrist Dr. Thurstone and had been through recovery on more

                than one occasion. Despite this, the family learned DeHaan was buying

                prescriptions from a Dr. Howard S. Weiss (Dr. Weiss) and that DeHaan filled and

                then sold the prescription drugs authorized by Dr. Weiss to others. Specifically, the


 reasonable medical probability, fall outside of the usual course of psychiatric treatment and/or occur without a
 legitimate medical purpose.


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            family learned that DeHaan went to Dr. Weiss' personal residence and paid Dr. Weiss

            $500.00 for prescriptions of Adderall to be filled at a pharmacy. The family believed

            DeHaan's only relationship with Dr. Weiss was for the purchase of the prescriptions.

            DeHaan filled the prescriptions and sold the tablets to others or exchanged the tablets

            for heroin. After DeHaan's death on November 10, 2016, family members found a

            prescription in DeHaan's vehicle written by Dr. Weiss for Adderall that had not been

            filled and was dated November 15, 2016, which was after DeHaan's death. Family

            members provided to DEA the prescription written by Dr. Weiss for DeHaan,

            prescription bottles from Dr. Weiss' other prescriptions that were filled, and photos of

            text messages and Facebook communications documenting the distribution of

            the filled prescriptions by DeHaan.

      13.      Based on the reports of DeHaan’s family, the post-dated prescription, and content

            of the photos of text messages and Facebook communications documenting the

            distribution of the filled prescriptions by DeHaan, Dr. Weiss was in violation of the

            Code of Federal Regulations (21 C.F.R.) with respect to the purpose of issuing

            prescriptions and the manner of issuance of prescriptions. Specifically, the Code of

            Federal Regulations (21 C.F.R) Section 1306.04 states the “Purpose of issue of

            prescription. (a) A prescription for a controlled substance to be effective must be

            issued for a legitimate medical purpose by an individual practitioner acting in the

            usual course of his professional practice. The responsibility for the proper prescribing

            and dispensing of controlled substances is upon the prescribing practitioner, but a

            corresponding responsibility rests with the pharmacist who fills the prescription. An

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            order purporting to be a prescription issued not in the usual course of professional

            treatment or in legitimate and authorized research is not a prescription within the

            meaning and intent of Section 309 of the Act (21 U.S.C. Section 829) and the person

            knowingly filling such a purported prescription, as well as the person issuing it, shall

            be subject to the penalties provided for violations of the provisions of law relating to

            controlled substances...” Additionally, 21 C.F.R., Section 1306.05 states the “Manner

            of issuance of prescriptions. (a) All prescriptions for controlled substances shall be

            dated as of, and signed on, the day when issued and shall bear the full name and

            address of the patient, the drug name, strength, dosage form, quantity prescribed,

            directions for use, and the name, address and registration number of the

            practitioner...” As articulated in 21 C.F.R., violators of 21 C.F.R. 1306.04 shall be

            subject to the penalties provided for violations of law relating to controlled

            substances, therefore Dr. Weiss is also in violation of Title 21 U.S.C. Sections

            841(a)(1), 841(b)(1)(C), and 846.

      Prior Reporting

      14.      Historically, Dr. Weiss surrendered his medical licenses in the states of Virginia

            and New York in the mid-1990s due to a federal felony conviction for mail

            fraud associated with insurance (Virginia) and two specifications of professional

            misconduct (New York). According to the Colorado Department of Regulatory

            Agencies (DORA) website, Dr. Weiss was issued a Physician License in the State of

            Colorado in 2003 and assigned License Number DR.0041466, with the next

            expiration date in 2021. Dr. Weiss is registered with the DEA as a practitioner and

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               assigned DEA Registration # AW1626300 with authorized drug privileges in

               Schedules 2, 2N, 3, 3N, 4, and 5. Dr. Weiss’ registered address with the DEA is 6900

               E. Belleview Avenue, Suite 205, Greenwood Village, Colorado 80111. Dr. Weiss is a

               Drug Addiction Treatment Act (DATA) Waived Physician and is authorized 100

               patients (treated for dependence) per month.

         15.      On June 22, 2014, Walgreens reported to DEA that they refused to fill a

               prescription presented at their pharmacy store located at 9141 South Broadway,

               Highlands Ranch, Colorado because of an "altered date." Walgreens faxed a copy of

               the prescription presented at their pharmacy to DEA. The prescription further

               identified the patient as Emily BA...[illegible] with a birth date of May 24, 1984. The

               prescriber listed was Howard S. Weiss, M.D. with DEA Registration #AW1626300.

               The prescription was dated June 17, 2014 (although the "6" for June appeared altered

               from a “7”) and was for 60 Adderall XR 30mg. Hand written notations of "altered

               date" and "date changed from 7/17/14 to 6/17/14?" were also on the sheet faxed from

               Walgreens.

         16.      A review of Colorado State Board of Pharmacy Prescription Drug Monitoring

               Program (“PDMP”) Physician Summary records2 of all dispensed controlled

               substance prescriptions written by Dr. Weiss with DEA Registration #AW1626300

               for the time period July 1, 2007 through September 6, 2018 received pursuant to DEA

               Administrative subpoenas, further identified Emily BA...[illegible] with birth date


 2
   The Colorado State Board of Pharmacy Prescription Drug Monitoring Program (“PDMP”) Physician Summary
 records include the patient’s name, birthdate, and address; the dispensing pharmacy’s name, store number, and
 address; prescription number; dispensed drug(s) with quantity and date dispensed; and method of payment.
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                May 24, 1984 as Emily BARRY 3 . BARRY filled prescriptions authorized by Dr.

                Weiss between January 2014 and August 2018. The prescriptions were for

                Alprazolam 2mg tablets, Adderall XR 30mg capsules, and Dextroamp-amphetamin

                30mg tablets. Further, it appeared as though a prescription authorized by Dr. Weiss

                for Adderall XR 30mg capsules and dated May 19, 2014 was filled on June 20, 2014

                for BARRY by Walgreens #03489, with DEA Registration #BW4411461, at 9390 S

                University Blvd, Highlands Ranch, Colorado; as well as a prescription authorized by

                Dr. Weiss for Adderall XR 30mg tablets and dated July 17, 2014 was filled on July

                17, 2014 for BARRY by Walgreens #03489, with DEA Registration #BW4411461, at

                9390 S University Blvd, Highlands Ranch, Colorado.

          17.      A criminal history check for BARRY reported a conviction for a

                Menacing/Assault charge/arrest in August 2015 with a sentence of two years’

                probation; however, probation was dismissed after approximately one year when

                certain conditions were met.

          18.      On July 22, 2014, Walgreens reported to DEA they refused to fill a prescription

                presented at their pharmacy store #04952, 9141 South Broadway, Highlands Ranch,

                Colorado. Walgreens faxed a copy of the prescription presented at their pharmacy to

                DEA. The prescription further identified the patient as Duncan KREBS, and the

                prescriber as Howard S. Weiss, M.D. with DEA Registration #AW1626300. The

                prescription was dated July 21, 2014 and was for 60 Adderall 30mg. Hand written


 3
   Dr. Walter identified Emily Barry as one of many patient cases below, based only upon his review of PDMP data,
 for the purpose of identifying any patterns of prescribing behavior which, within a reasonable medical probability,
 fall outside of the usual course of psychiatric treatment and/or occur without a legitimate medical purpose.
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             notations of "pt always been on XR 30mg [symbol of "ii" with a serif between the

             stems and dots of the i] qD so left message for MD to call back. Patient was upset +

             took Rx back saying it should be non-XR" were also on the sheet faxed from

             Walgreens.

       19.      A review of Colorado PDMP Physician Summary records of all dispensed

             controlled substance prescriptions written by Dr. Weiss with DEA Registration

             #AW1626300 for the time period of July 1, 2007 through September 6, 2018 received

             pursuant to DEA administrative subpoenas, further identified Duncan KREBS, and

             reported KREBS filled prescriptions authorized by Dr. Weiss between April 2013 and

             June 2016. The prescriptions were for Lorazepam 2mg tablets, Dextroamp-

             amphetamin 15mg/20mg/30mg tablets, and Adderall XR 30mg capsules. Further, it

             appears as though a prescription authorized by Dr. Weiss for Dextroamp-amphetamin

             30mg tablets, dated July 21, 2014, was filled on July 21, 2014 for KREBS by the

             Target Pharmacy, at 1265 Sgt Jon Stiles Drive, Highlands Ranch, Colorado.

       20.      A criminal history check for KREBS reported a conviction for a Driving While

             Ability Impaired charge and arrest on July 30, 2014, one week after the filled

             prescription identified in the previous paragraph, with a sentence of two years’

             probation. KREBS probation was revoked at least once and his Colorado driver

             license was cancelled/denied.

       21.      On September 2, 2014, Walmart reported to DEA they refused to fill a

             prescription presented on August 28, 2014 at their pharmacy store #6634 with DEA



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                Registration #BS7221562 in Lone Tree, Colorado. Walmart further identified the

                prescription as being presented in hard copy with the patient name of Sam Proctor, the

                prescriber name of Howard Weiss, the prescriber DEA Registration of #AW1626300,

                for 300 Ritalin 10mg. Their reason for refusal was "other than legitimate medical

                purpose."

          22.      DEA indices further identify the pharmacy with DEA Registration #BS7221562

                as Sam's Pharmacy 10-6634, at 7817 Park Meadows Drive, Lone Tree, Colorado

                80124. A review of Colorado PDMP Physician Summary records of all dispensed

                controlled substance prescriptions written by Dr. Weiss with DEA Registration

                #AW1626300 for the time period of July 1, 2007 through September 6, 2018 received

                pursuant to DEA administrative subpoenas, further identified Sam Proctor as Samuel

                PROCTOR 4 and reported PROCTOR filled prescriptions authorized by Dr. Weiss

                between August 2013 and July 2018. The prescriptions were for Alprazolam 2mg

                tablets, Methamphetamine 5mg tablets, Methylphenidate 10mg tablets, and

                Dextroamp-amphetamin 30mg tablets. Further, it appears as though a prescription

                authorized by Dr. Weiss for 300 methylphenidate 10mg (Ritalin 10mg), dated August

                20, 2014, was filled on the same day of August 28, 2014 for PROCTOR by

                Walgreens #04952, with DEA Registration #BW6577108, at 9141 S Broadway,

                Highlands Ranch, Colorado.


 4Dr. Walter identified Sam Proctor as one of many patient cases below, based only upon his review of PDMP data,
 for the purpose of identifying any patterns of prescribing behavior which, within a reasonable medical probability,
 fall outside of the usual course of psychiatric treatment and/or occur without a legitimate medical purpose.



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       23.      A criminal history check for PROCTOR reported prior arrests and/or convictions

             for dangerous drugs, weapons, and parole violations. The following arrests and

             convictions were reported during the time period PROCTOR was filling prescriptions

             authorized by Dr. Weiss. PROCTOR was arrested on June 1, 2015 and then

             convicted of Possession of a Weapon by a Previous Offender (felony) with a sentence

             of 15 months in the custody of the Department of Corrections. His most recent arrest

             occurred on July 1, 2017 for Possession of Controlled Substances with Intent to

             Distribute, Vehicular Eluding, Resisting Arrest, Reckless Driving, and Failure to

             Display Proof of Insurance. The narrative from Colorado State Patrol arrest report

             #1D172944 stated, in brief summary, the following for July 1, 2017:

                A CSP Trooper attempted to stop a motorcycle on SB Interstate 25 in Thornton

                Colorado. The motorcycle began to elude the Trooper’s signal and crash into the

                Trooper’s motorcycle. The driver, PROCTOR, fled on foot and was taken into

                custody a short distance later. A scale, commonly used for weighing drugs, and a

                small box with approximately 7.9 grams of marijuana were found in PROCTOR’s

                backpack. A Ziploc type bag containing approximately 13.9 grams of suspected

                Normorphine and Methamphetamine; a Ziploc type bag containing approximately

                22.4 grams of suspected Methamphetamine; and a Ziploc type bag containing

                approximately 1.5 grams of suspected heroin were found on PROCTOR’s body.

       24.      In August of 2015, Diversion Investigator (DI) Oesterle received information that

             Nicole JOHNSON was filling prescriptions from different doctors, including Dr.

             Weiss. On September 3, 2015, DI Oesterle and DI Pickrel interviewed Dr. Weiss at

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             his office, 6900 E Belleview Ave, Suite 205, Greenwood Village, Colorado. In brief

             summary, Dr. Weiss stated that JOHNSON had been his patient since June 25, 2013

             and that he had been prescribing Adderall and a sleep aid to JOHNSON. Dr. Weiss

             claimed to have spoken to JOHNSON prior to the interview with DI Oesterle and DI

             Pickrel, and JOHNSON denied any wrong doing. However, Dr. Weiss identified

             several prescriptions from JOHNSON's PDMP that he did not write for JOHNSON.

             Dr. Weiss voluntarily showed the investigators his records and made the point that he

             kept very accurate records for JOHNSON, and that he did the same for all of his

             patients.

       25.       A review of Colorado PDMP Patient Summary records of all dispensed controlled

             substance prescriptions to Nicole JOHNSON for the time period of July 1, 2007

             through April 7, 2017, received pursuant to DEA administrative subpoenas, reported

             JOHNSON filled prescriptions authorized by Dr. Weiss between June 2013 and

             December 2015. The prescriptions were for Zaleplon 10mg caplets (Sonata) and

             Dextroamp-amphetamin 20mg tablets, with the last prescription for 30 Dextroamp-

             amphetamin 20mg tablets (half the number of tablets as the previous prescriptions)

             written on August 31, 2015 and filled by JOHNSON on August 31, 2015.

       26.       A criminal history check for JOHNSON reported an arrest for ID Theft, Forgery,

             Financial Transaction Unauthorized, Criminal Possession Financial Device, and Theft

             committed in June 2017.




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       New Reporting

       27.      Between December 2017 and February 2018, Detective Bynum from the Medina

             County Ohio Drug Task Force shared information with your affiant and Task Force

             Officer (TFO) Fergon regarding Dr. Howard Weiss. Detective Bynum received

             reliable information from a Source of Information (SOI) in mid-December 2017 that a

             person who will be referred to as the “Ohio Patient” for purposes of this affidavit, was

             buying prescriptions online for Xanax and Adderall from a doctor in Colorado. The

             Ohio Patient then sold the Xanax he received from those prescriptions at local bars

             and kept the Adderall for himself. The SOI added that the Ohio Patient used the

             money he made from selling the Xanax to fund a heroin habit.

       28.      Detective Bynum reviewed the Ohio Automated Rx Reporting System (OARRS)

             profile for the Ohio Patient and confirmed the Ohio Patient had received prescriptions

             from Dr. Weiss, and Dr. Weiss was identified with an address in Colorado. Detective

             Bynum reviewed an OARRS prescribing profile for Dr. Weiss and learned that the

             Ohio Patient was the only person Dr. Weiss prescribed to in Ohio during the last two

             years. Detective Bynum confirmed through the Ohio Medical Board that Dr. Weiss

             did not and does not currently have a license to practice medicine in Ohio.

       29.      Later in 2018, Detective Bynam shared information with your affiant that a

             Confidential Source (CS) reported to Detective Bynam s/he had purchased Xanax

             (Alprazolam) from the Ohio Patient in the past. The CS consented to a download of

             the CS’s phone and Detective Bynam observed text messages between the CS and the

             Ohio Patient regarding the Ohio Patient supplying CS1 with Xanax (Alprazolam).

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             Unfortunately, the CS died of a drug overdose (not related to controlled substances

             supplied by the Ohio Patient) on September 25, 2018, and therefore was unable to

             provide additional information on the Ohio Patient’s distribution of Xanax

             (Alprazolam).

       30.      On or about October 30, 2018, a Medina (Ohio) Hospital Nursing Operations

             Manager reported to Detective Bynum concerns regarding Dr. Howard Weiss in

             Colorado prescribing the Ohio Patient large amounts of controlled substance

             medications. The Nursing Operations Manager added that the Ohio Patient’s mother

             stated the doctor in Colorado had not evaluated the Ohio Patient “in years.” Detective

             Bynum advised your affiant that he also spoke with the Ohio Patient’s mother and

             confirmed that she felt the Ohio Patient was not receiving proper care from Dr. Weiss

             and Dr. Weiss had not seen the Ohio Patient in years. The Nursing Operations

             Manager reported the Ohio Patient had seven emergency room visits to the Medina

             Hospital in the prior ten days, and supposedly had been to other emergency rooms as

             well, attempting to obtain additional medication. The Nursing Operations Manager

             said the Medina Hospital treating emergency room doctor on October 30, 2018 called

             Dr. Weiss in Colorado on October 30, 2018 and asked Dr. Weiss about all of the

             medications prescribed to the Ohio Patient. The Nursing Operations Manager related

             that Dr. Weiss told the treating emergency room doctor that he “stands by his rx

             plan,” during that conversation.

       31.      On January 19, 2018, a DEA administrative subpoena was served for Prescription

             Drug Monitoring Program (PDMP) patient summary records of the Colorado State

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             Board of Pharmacy which includes a patient summary of all dispensed controlled

             substance prescriptions in Colorado to the Ohio Patient between January 1, 2013 and

             January 17, 2018. On January 19, 2018, the Colorado State Board of Pharmacy

             responded to the DEA subpoena. Your affiant reviewed the records, and in brief

             summary, the patient profile reported the Ohio Patient filled prescriptions written by

             Dr. Weiss for Alprazolam 2mg tablets and Dextroamp-amphetamin 30mg tablets

             between September 2013 and June 2014 in Colorado.

       32.      On September 12, 2018, a Grand Jury Subpoena was served on the Custodian of

             Records for the State of Ohio Pharmacy Board requesting a patient summary of all

             dispensed controlled substance prescriptions to the Ohio Patient between January 1,

             2014 and the present. Later in September 2018, the Ohio Pharmacy Board responded

             to the subpoena by providing the requested records. Your affiant reviewed the

             records, and in brief summary, the patient profile reported the Ohio Patient filled

             prescriptions written by Dr. Weiss for Alprazolam 2mg tablets in July and August

             2014; and Alprazolam 2mg tablets and Dextroamp-apphetamin 30mg tablets between

             May 2017 and August 2018, with the exception of only Alprazolam 2mg tablets in

             September 2017 and March 2018.

       33.      Therefore, the Ohio Patient was receiving prescriptions for Alprazolam 2mg

             tablets from Dr. Weiss during the time period the SOI and CS reported the Ohio

             Patient was distributing Xanax (Alprazolam).




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    Review of PDMPs by Medical Expert

       34.      On or about August 27, 2018, representatives of the Drug Enforcement

             Administration retained Dr. Mark Walter, MD as a consulting expert in its

             investigation into whether Dr. Weiss participated in the distribution or dispensing of

             controlled substances without a legitimate medical purpose or outside the usual

             course of professional medical practice in violation of 21 U.S.C. 841, et seq.

       35.      According to Dr. Walter’s curriculum vitae, Dr. Walter graduated summa cum

             laude with a Bachelor of Science degree from Wake Forest University and

             subsequently received an M.D. Degree from Wake Forest University School of

             Medicine; Dr. Walter participated in the Vanderbilt University Medical Center

             Psychiatry Residency Training Program in general adult psychiatry, and more

             specifically, participated in areas of concentration, including geriatric psychiatry,

             forensic psychiatry, addiction psychiatry and addiction psychiatry clinical rotations.

             Dr. Walter is a Diplomate of the American Board of Psychiatry and Neurology and he

             is currently the Medical Director of the Campbell County Memorial Hospital in

             Gillette, Wyoming.

       36.      Dr. Walter was provided Colorado Prescription Drug Monitoring Program

             (PDMP) prescribing records that pertain to Dr. Weiss for the time period of January 1,

             2015 through September 6, 2018, and Ohio PDMP dispensed records that pertain to

             the Ohio patient for the time period January 1, 2014 through mid-September 2018, to

             preliminarily determine whether Dr. Weiss’s prescribing was pursuant to a legitimate

             medical purpose or within the usual course of professional medical practice. On May

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            23, 2019, Dr. Walter provided the following observations regarding the prescribing

            practices of Dr. Weiss:


 “***At the request of your office, I have undertaken a review of the provider PDMP for Dr.
 Howard Weiss, a psychiatrist who maintains a practice location in Greenwood Village, CO. The
 purpose of this review is to screen for patterns of controlled substance issuances that may be
 suggestive of prescribing outside of the usual course of medical practice and/or without a
 legitimate medical purpose. Here, any positive findings are based upon a reasonable medical
 probability, with my opinion being informed by my review of the provider PDMP. To the extent
 made possible by this data set, I will provide an opinion about whether a course of prescribing
 could have been pursuant to a legitimate medical purpose in the cases identified in this report.

 PROVIDER BACKGROUND

 Dr. Weiss maintains a website which indicates that he has been in the practice of Psychiatry for
 33 years and that he is a diplomate of the American Board of Psychiatry and Neurology. His
 home page makes several announcements about Dr. Weiss’s practice, each of which would be a
 rarity in modern Psychiatry. The first of these is that “I am readily available for my patients, 24
 hours a day, 7 days a week, holidays included, no matter where I am in the world.” He also
 states that he doesn’t use an answering service and that he provides patients with his personal
 phone number. Dr. Weiss goes further and states, “I am always on-call for my patients because I
 believe that this is the proper way to practice Psychiatry.” While it is entirely up to Dr. Weiss to
 establish the nuances of his private practice, he has adopted a communication strategy with
 patients which blurs the customary doctor-patient boundaries in Psychiatry (i.e., providing
 patients with his personal phone number), which eschews the notion of work-life balance in
 Medicine (i.e., being on call continually and available at all hours), and which a reasonable
 psychiatrist would not view as the usual or “proper” way to practice. Dr. Weiss also states that he
 is connected to patients in “all parts of the United States and the world” by telephone and
 Skype. This is an interesting assertion, as Dr. Weiss’ resume – which he also makes available to
 patients on his website – indicates that he only holds medical licenses in Virginia, New Jersey
 and Colorado.

 Dr. Weiss also reveals on his website homepage that he makes “house calls” on a routine basis,
 limited to within a 100-mile radius from his office. This again is a rarity in modern mental
 health, and it is a practice which is highly discouraged. Here, I will strongly assert that a
 reasonable Psychiatrist would understand the dangers associated with “house calls” and would
 never consider engaging in such a practice. The most obvious peril is that “house calls” open the
 psychiatrist up to accusations, ranging from boundary crossing to impropriety to sexual
 misdeeds. The reasonable Psychiatrist would also understand that if a psychiatrist who chooses to
 provide “house calls” is ever accused of an unsavory action, they are already standing on rather
 indefensible ground, because they chose to put themselves in a position that is viewed as high-

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 risk and unnecessary in modern mental health. As a case in point a mental health professional – a
 psychologist in this case – who practiced in Wyoming was recently sent to prison based upon
 allegations of rape that emerged in the context of his provision of at-home “psychotherapy”
 services to a female patient. His position, as I indicated above, was hard to defend. A reasonable
 psychiatrist – or psychologist – would view this willingness to provide psychiatric “house calls”
 as a problem with boundaries in professional practice.

 Dr. Weiss, after indicating on his website that he stays “up to date on the very latest scientific
 research findings in my field,” adds that he is versed in both pharmacologic an psychotherapeutic
 interventions for a variety of psychiatric conditions, including ADHD, anxiety and phobias. Dr.
 Weiss appears to place a strong emphasis on non-pharmacologic interventions as opposed to
 pharmacologic interventions. In fact, he writes, “. . . I will implement treatment with medication
 only after all non-pharmacologic strategies have been assessed thoroughly.”

 Information provided to the public on the Colorado Department of Regulatory Agencies (DORA)
 website reveals that Dr. Weiss has had prior actions against his medical licenses. In April 1995,
 he was convicted of mail fraud, a felony. These charges stemmed from his submission of false
 and fraudulent claims for patient services to third-party payers. He was specifically accused of
 “upcoding.” The Virginia Board of Medicine suspended his license in April 1995, soon after his
 conviction. A Surrender Order was entered by the New York Medical Board in 1997, after Dr.
 Weiss was charged with professional misconduct, in reference to his mail fraud conviction. The
 Findings of Fact in the New York Board order reveal that Dr. Weiss was sentenced to 3 years of
 probation (including 180 days of home detention), fees, and the requirement that he repay over
 $35,000.00 in restitution. The Virginia Board of Medicine re-instated Dr. Weiss’ medical license
 in October 1995, albeit with indefinite probation. A diplomate search on the American Board of
 Psychiatry and Neurology website reveals that Dr. Weiss has an active ABPN certification. He
 was initially board-certified in 1987 and is “grandfathered,” meaning that his certification is not
 time-limited and is not subject to the maintenance of certification requirements or re-certification
 requirements that have been imposed on every ABPN diplomate since October 1994.

 GENERAL OBSERVATIONS

 My review of the provider PDMP for Dr. Weiss uncovered several patterns of unusual controlled
 substance prescribing behavior. The first of these is a clear preference for prescribing high-dose
 ranges of the DEA Schedule II controlled substance Adderall (trade name for mixed
 amphetamine salt) at 60-150mg/day and high-dose ranges of the DEA Schedule IV controlled
 substance Xanax (trade name for alprazolam) at 6-30mg/day. For the benefit of the reader, I have
 provided in APPENDIX A, at the end of this report, prescribing guidelines by indication, for the
 controlled substance medications which appear frequently in Dr. Weiss’ provider PDMP. Dr.
 Weiss also demonstrates a prescribing preference for immediate-release Adderall, amongst
 stimulant medications; he demonstrates a prescribing preference for Xanax, amongst
 sedative/anxiolytic medications. Dr. Weiss also exhibits a tendency to prescribe high dosage
 units of controlled substances – including Adderall and Xanax – which increases the societal

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 impact of any drug diversion that may occur. He also regularly prescribes Ambien, a DEA
 Schedule IV hypnotic, at 10mg po qhs to women, despite the FDA advisory against this practice;
 moreover, he frequently prescribes this dosage to women, in conjunction with benzodiazepines,
 controlled substance sedatives. My review also informed me that Dr. Weiss regularly prescribes
 hypnotics and benzodiazepines in conjunction with Adderall. The most frequently occurring drug
 combination prescribed, according to his practitioner PDMP, is Adderall and Xanax. With
 several patients, Dr. Weiss has taken the rare step of prescribing methamphetamine, another
 DEA Schedule II controlled substance. In fact, outside of this review, I have never witnessed – or
 so much as heard of – a psychiatrist prescribing methamphetamine to an adult patient. This
 practice alone appears to be outside of the usual course of professional practice and without a
 legitimate medical purpose.

 GENERAL STATEMENTS ABOUT PANIC DISORDER

 The term “panic attack” is not synonymous with the diagnosis “panic disorder.” Panic attacks can
 occur under a variety of conditions, including states absent a diagnosable psychiatric illness.
 They can occur in cardiac disease states (e.g., arrhythmias and valve disease), endocrine disease
 states (e.g., thyroid disease), in states of substance intoxication (e.g., caffeine, amphetamine,
 cocaine, MDMA), in states of substance withdrawal (e.g., alcohol and benzodiazepine
 withdrawal), in states of high psychological stress and for no apparent reason at all. Having a
 single or even multiple panic attacks, in the absence of other behavioral adjustments, does not
 meet criteria for the diagnosis of “panic disorder.” This is why the Practice Guideline for the
 Treatment of Patients with Panic Disorder 2nd Ed. published by the American Psychiatric
 Association (APA) recommends a thorough evaluation for patients with panic. This evaluation
 should include a thorough history, including substance abuse history and general medical history.
 Appropriate steps to evaluate for medical causes of panic can include an electrocardiogram, a
 referral to Cardiology (if warranted), and thyroid screening (i.e., TSH). The Practice Guideline
 encourages the psychiatrist to consider both pharmacologic and psychotherapeutic interventions.
 The psychotherapeutic interventions with the strongest support are cognitive behavioral therapy
 (CBT) and exposure therapy. Concerning medication treatments, the Practice Guideline observes
 that…
         The use of a selective serotonin reuptake inhibitor (SSRI), serotonin-
         norepinephrine reuptake inhibitor (SNRI), tricyclic antidepressant (TCA), or
         cognitive-behavioral therapy (CBT) as the initial treatment for panic disorder is
         strongly supported by demonstrated efficacy in numerous randomized controlled
         trials. In the absence of a co-occurring mood disorder, monotherapy with a
         benzodiazepine is also an appropriate initial treatment.

 Later, concerning the use of benzodiazepines, the Practice Guideline adds…

        SSRIs, SNRIs and TCAs are all preferable to benzodiazepines as monotherapies
        for patients with co-occurring depression or substance use disorders.
        Benzodiazepines may be especially useful adjunctively with antidepressants to

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        treat residual anxiety symptoms. Benzodiazepines may be preferred (as
        monotherapies or in combination with antidepressants) for patients with very
        distressing or impairing symptoms in whom rapid symptom control is critical. The
        benefit of more rapid response to benzodiazepines must be balanced against the
        possibilities of troublesome side effects (e.g., sedation) and physiological
        dependence that may lead to difficulty discontinuing the medication.

 The Practice Guideline also offers a helpful table which summarizes the usual therapeutic
 doses of various SSRIs, SNRIs, TCAs and benzodiazepines. As this report concerns
 controlled substance prescribing, I will present the information pertaining to the
 benzodiazepine class.

        BENZODIAZEPINE                        DEA Schedule                 USUAL
                                                                        THERAPEUTIC
                                                                         DOSE (mg/day)
  Xanax (alprazolam)                     IV                           2-4
  Klonopin (clonazepam)                  IV                           1-2
  Ativan (lorazepam)                     IV                           4-8

 I would like to contrast these general recommendations regarding the usual therapeutic dose
 of Xanax with the FDA labelling for Xanax. Concerning the general “anxiety” indication,
 the labelling for Xanax specifies a maximum daily dose in adults of 4mg/day, in divided
 doses. Referencing the Physician’s Desk Reference (PDR), for the indication of “panic
 disorder,” the mean doses of 5 to 6mg/day of Xanax are provided, with a specified
 maximum of 10mg/day, in divided doses. This does not mean that benzodiazepines like
 Xanax are the preferred treatment for anxiety or for panic disorder. The Practice Guideline
 referenced above makes clear that SSRI’s and SNRI’s are also first-line treatments and are
 the preferred agents in certain circumstances (mood disorders and substance abuse history).
 Xanax remains the most prescribed benzodiazepine (BZD), not because it is viewed as being
 superior to other BZD’s, but because it is frequently requested by patients and because it
 continues to be prescribed heavily by non-psychiatric, primary care providers. At the same
 time that alprazolam is the most widely prescribed benzodiazepine, it is also the most
 misused benzodiazepine. Over the years, psychiatrists – especially those who treat addiction
 – have come to view Xanax as an increasingly problematic drug. This is because we have
 come to learn that Xanax indeed has a very high misuse liability, that its pharmacology
 results in greater reward reinforcement and more severe withdrawal (including rebound
 anxiety) and that it has been implicated in roughly one-third of intentional overdoses. Xanax
 is also more toxic than other benzodiazepines in overdose. Some authors suggest that SSRI’s
 and SNRI’s should always be considered the first-line treatments for anxiety disorders and
 that benzodiazepine medications, if used at all, be used for a short duration to provide
 symptom alleviation in the window before the antidepressants become effective. The same
 authors indicate that if Xanax is chosen as treatment, it should only be prescribed in the
 extended-release formulation for short duration, and only to those with no prior substance
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 abuse history. Although the initial labelling for Xanax in panic disorder specifies a
 maximum of 10mg/day, it is rare to see a psychiatrist prescribe Xanax at that level.

 Here, I should emphasize that there are also medication causes of heightened anxiety and
 panic. A common medication cause are benzodiazepines themselves. Benzodiazepines bind
 to the gamma-aminobutyric (GABA) receptor and increase GABA transmission, in a manner
 similar to alcohol. GABA transmission is the “braking” mechanism for the central nervous
 system, and this explains the sedative and anxiolytic effect of benzodiazepines. The primary
 tolerance or accommodation mechanism to benzodiazepines in the central nervous system is
 an amplifying of the glutamate or “acceleration” system, which also occurs in the
 development of tolerance to alcohol. It is this excitatory glutamate system that is responsible
 for the acute withdrawal phenomena (e.g., tremor, autonomic excitability, seizures) in
 alcohol-tolerant or benzodiazepine-tolerant states. As indicated earlier in this section, Xanax
 use can result in more severe withdrawal than other dose-equivalent benzodiazepines. One
 of the more common benzodiazepine withdrawal symptoms happens to be rebound anxiety,
 and this often occurs even when other symptoms of acute withdrawal are absent. If
 benzodiazepine dosing is increased in a given patient, in response to rebound anxiety, their
 tolerance is further increased, and they are at even greater risk of rebound anxiety.
 Stimulants, whether caffeine or prescription stimulants, also increase susceptibility to
 heightened anxiety and panic.

 Toxicity can occur with all benzodiazepines. Symptoms of benzodiazepine toxicity include
 somnolence, confusion, slurred speech, diminished reflexes, ataxia, coma and respiratory
 depression. Death has been reported with overdoses of alprazolam alone. Common adverse
 side effects of BZD use include sedation, dysarthria, confusion, in coordination and memory
 impairment.

 GENERAL STATEMENTS ABOUT ATTENTION DEFICIT/HYPERACTIVITY
 DISORDER (ADHD)

 The diagnosis of ADHD in children, for whom the diagnostic criteria were initially crafted,
 is challenging enough, as there are a number of diagnostic confounders in this population.
 These can include developmental disorders, mood disorders, thought disorders, learning
 disabilities, anxiety disorders and the effects of a poor home environment. The clinician’s
 task is made somewhat easier, because the clinician generally receives input from multiple
 sources, including parents and teachers. In young children, the confounding specter of
 substance abuse is generally not present. Roughly 50% of children lose the signs and
 symptoms of ADHD (with a preferential loss of hyperactivity) as they mature into
 adulthood.

 The diagnosis of ADHD in adults is considerably more challenging because of the non-
 specific nature of the symptom of inattention, because of patient reluctance to follow
 diagnostic criteria and because of the occurrence of substance abuse and drug-seeking

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 behaviors. Inattention is a fairly nonspecific symptom and occurs commonly in other
 psychiatric disorders, to include mood disorder, anxiety disorders, thought disorders,
 substance use disorders and obsessive-compulsive disorder (OCD). Therefore, the diagnosis
 of ADHD as a syndrome of primary inattention in adults requires a careful screening for
 these other disorders. Unfortunately, in many offices, the de facto criteria for adult ADHD is
 either a history of receiving the diagnosis from another provider or having the patient
 complete a short self-assessment screening survey which could be suggestive. The problem
 with the self-assessments often provided to patients concerned about ADHD is that they
 have perfect sensitivity. Consider, for example, the 6-question Adult ADHD Self-Report
 Scale (ASRS) published by the World Health Organization (WHO). This self-screener asks
 6 questions which can be easily answered with a “positive” result by anyone invested in
 having the diagnosis of ADHD or invested in being prescribed a stimulant medication. That
 is to say that the “correct” answers to the questionnaire are self-evident, and the results and
 conclusions can be swayed accordingly. I have seen many cases where primary care
 physicians include a copy of the ASRS results or a similar self-screener in the patient chart
 as evidence of ADHD and justification for prescribing stimulant medications to the patient.
 In cases where adult ADHD, involving inattention not clearly linked to another disorder or to
 substance abuse, is suspected, it is often helpful to refer the patient for neuropsychiatric
 testing for clarification of any attention problems.

 In cases where a syndrome of primary inattention is identified in an adult, stimulant
 medications are not always warranted. Some patients cope well with just simple behavioral
 interventions (e.g., use of a day planner). Some patients respond adequately to use of non-
 stimulant medications (e.g., bupropion or atomoxetine). In cases where patients do not
 adequately respond to these treatments, reasonable doses of a stimulant medication will
 usually suffice. Concerning the use of immediate-release Adderall, the medication database
 Micromedex proposes that the initial dosage be 5mg po once or twice daily, with the titration
 proceeding at 5mg increments at weekly intervals until an optimal response is achieved.
 Micromedex specifies that doses of Adderall IR greater than 40mg/day are rarely
 needed. Similarly, the Centers for Medicare and Medicaid Services (CMS) reports the
 maximum dose of Adderall IR as 40mg per day, adding that “only in rare cases will it be
 necessary to exceed a total of 40mg per day.”

 Concerning Adderall XR, Micromedex identifies the usual dosage as 20mg po qam. CMS
 also reports the recommended dose as 20mg po once a day. The PDR reminds us that during
 adult ADHD trials, there was not adequate evidence that doses greater than 20mg/day ER
 capsules conferred additional benefit. Psychopharmacology expert Dr. Steven Stahl also
 writes that the maximum dose of Adderall XR is generally considered to be 30mg/day.

 According to the Micromedex database, the labeling for methylphenidate IR (a DEA
 schedule II stimulant) in the treatment of ADHD allows for a dosage range of 10 to
 60mg/day, divided two to three times daily. The PDR identifies the average effective dose
 range for adults as 20 to 30mg per day, and it makes clear that the maximum is 60mg/day

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 per FDA-approved labeling. As it concerns methylphenidate ER (e.g., Concerta), the PDR
 recommends a starting dose of 18 to 36mg po qam in non-geriatric adults and specifies a
 maximum of 72mg/day.

 This data is provided to give the reader some sense of the manner in which these
 medications are usually prescribed. It should be a rare event to see Adderall IR prescribed at
 greater than 40mg/day; Adderall XR at greater than 30mg/day and methylphenidate IR at
 greater than 40mg/day. Infrequent excursions outside of these ranges may be seen; however,
 these excursions should not be a pattern of practice. Moreover, it should be a cause for
 concern, anytime that methylphenidate ER is prescribed at doses greater than 72mg/day or
 Vyvanse is prescribed at greater than 70mg/day.

 In 2010, the Colorado Medical Board updated its Rule 210 – Unprofessional Conduct
 Relating to the Prescribing of Stimulant Drugs to address unapproved, off-label uses of
 prescription stimulants. These unapproved uses are enumerated in the update (effective date
 10/15/2010):

        Prescription of stimulant drugs (amphetamine or sympathomimetic amine drugs
        designated as Schedule II controlled substances) is not acceptable for purposes of
        diet control, increasing work capacity to combat the normal fatigue associated
        with any endeavor, or to chemically induce euphoria.

 In 2016, the Colorado Medical Board updated Rule 210 to clarify its stance on the use of
 stimulant medications in treatment-resistant depression (TRD). The effective date is
 7/16/2016 on this update:

        Prescribing of stimulant drugs (amphetamine or sympathomimetic amine drugs
        designated as Schedule II controlled substances) shall be in accordance with
        generally accepted standards of medical practice including, but not limited to, the
        treatment of severe or treatment-resistant depression. Prescribing of stimulant
        drugs is not acceptable for purposes of diet control for weight loss, increasing
        work capacity to combat the normal fatigue associated with any endeavor, or to
        chemically induce euphoria.

 The Colorado Medical Board’s inclusion of TRD as an acceptable off-label use of
 stimulant medications merits a discussion about how treatment-resistant depression is
 generally managed. Concerning this matter, I will assert that the off-label use of stimulant
 medications for TRD should be a rare occurrence. The definition of “treatment-resistant
 depression” has not been standardized, though it generally refers to a major depressive
 episode that has not adequately responded to two trials of antidepressant monotherapy.
 Each antidepressant “trial” should be defined with an adequate duration of exposure to
 the antidepressant medication, at a dose where most individuals would be expected to
 demonstrate at least a partial response to the medication (i.e., an antidepressant trial

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 should be long enough and high enough that it would be expected to produce a response
 in a depressed individual). If an individual is not exposed to a valid trial of an
 antidepressant medication, then that medication should not be considered as a “trial,”
 when deciding if a patient’s depression can be identified as “treatment-resistant.” When a
 patient has not responded to a valid trial of medications, there are a number of
 commonplace, non-controlled-substance options that a provider may invoke. The
 simplest option is a medication switch, which may involve a switch to an antidepressant
 from another pharmacologic class (e.g., from an SSRI to an SNRI, from an SNRI to an
 SSRI or from an SSRI/SNRI to a TCA). Another option that may be considered is an
 antidepressant augmentation, whereby another medication is used alongside an existing
 antidepressant to boost overall treatment response. There a number of commonly used
 and non-controlled augmenting medications, to include bupropion (a dopamine re-uptake
 inhibitor), lithium, mirtazapine (a novel antidepressant), aripiprazole (FDA-approved for
 adjunctive treatment of major depressive disorder), buspirone, and liothyronine. The non-
 controlled medication Symbyax has been approved by the FDA for TRD. Providers can
 also refer patients for non-medication adjunctive treatment strategies to include individual
 psychotherapy, support groups, electroconvulsive therapy (ECT), transcranial magnetic
 stimulation (TMS) and vagal nerve stimulation (VNS). Because of the ready availability
 of these non-stimulant medication options (including some with FDA approval) and non-
 medication options, providers have ample reason to avoid unnecessary and off-label use
 of stimulant medications for TRD.

 As with sedative medications, there are toxicity syndromes associated with stimulant
 medications. Manifestations of stimulant overdose may include hyperactivity, diaphoresis,
 flushing, mydriasis, nausea, vomiting, abdominal pain, hypertension, palpitations, chest
 pain, headache, hyperventilation, confusion, hyperthermia, cardiac arrhythmia, myocardial
 infarction, aortic dissection, stroke, sudden cardiac death, psychosis and seizures. Common
 adverse side effects of stimulants include increased blood pressure, weight loss, headaches,
 loss of appetite, anxiety and mood swings.

                                  CASE PRESENTATIONS

 What follows in this reports is a review of select patient cases, based only upon PDMP data,
 for the purpose of identifying any patterns of prescribing behavior which, within a
 reasonable medical probability, fall outside of the usual course of psychiatric treatment
 and/or occur without a legitimate medical purpose. No patient identifiers are included in this
 report. Instead patient initials are used. In cases where different patients appearing on the
 PDMP have the same initials, the next letter of the name will be added for clarification.
 Cases are organized by the type of unusual prescribing practice or pattern observed. The
 patient cases which generate the greatest concern for patient safety and/or possible diversion
 are listed in red type.



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 UNUSUAL PRESCRIBING PATTERN #1: The Use of Methamphetamine in Adult
 Patients

 Although Desoxyn (trade name for methamphetamine) has FDA approval for ADHD
 with hyperactivity in special cases (discussed below) and for exogenous obesity, most
 psychiatrists will never prescribe methamphetamine in the course of their careers. There
 are several factors for this, not least of which is methamphetamine’s position in the public
 consciousness as a drug of abuse and its addictive potential. Another reason is that the
 FDA labelling for the ADHD indication is quite restrictive and does not include treatment
 of adult ADHD. In fact, prior to performing this review, I was not personally familiar
 with any other case of a psychiatrist prescribing methamphetamine in an adult.

 The FDA labelling on methamphetamine is quite strict, as concerns both the ADHD
 indication and the exogenous obesity indication. The FDA label does not include
 treatment of adult ADHD. Instead, it limits treatment to children, over the age of 6 years,
 with certain behavioral features and as part of a more comprehensive treatment for those
 children. According to the FDA label…

        DESOXYN tablets are indicated as an integral part of a total treatment program
        which typically includes other remedial measures (psychological, educational,
        social) for a stabilizing effect in children over 6 years of age with a behavioral
        syndrome characterized by the following group of developmentally inappropriate
        symptoms: moderate to severe distractibility, short attention span, hyperactivity,
        emotional lability, and impulsivity. The diagnosis of this syndrome should not be
        made with finality when these symptoms are only of comparatively recent origin.
        Non-localizing (soft) neurological signs, learning disability, and abnormal EEG
        may or may not be present, and a diagnosis of central nervous system dysfunction
        may or may not be warranted.

 The FDA label for exogenous obesity is also very restrictive and limits Desoxyn to use
 “as a short-term (i.e., a few weeks) adjunct in a regimen of weight reduction based on
 caloric restriction, for patients in whom obesity is refractory to alternative therapy, e.g.,
 repeated diets, group programs, and other drugs.” The FDA also cautions that
 “methamphetamine should not be given to patients who are in an agitated state or who
 have a history of drug abuse.”

 The DEA’s Drug & Chemical Evaluation Section has produced a monograph on
 methamphetamine. Under the licit uses of the drug, the DEA acknowledged in this data
 sheet that “Desoxyn has very limited use in the treatment of obesity and attention deficit
 hyperactivity disorder.”

 Based upon the misuse liability of methamphetamine, the restrictions of the label, and the
 availability of other prescription stimulant medications, it is my opinion that there is

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 never an appropriate use of methamphetamine in adults. Moreover, there is no
 appropriate justification for prescribing methamphetamine in a patient with a known
 addiction history, regardless of the intended indication. When Desoxyn is used in children
 over 6 years, the usual effective dose is 20 to 25mg/day, typically given in two divided
 doses.

 Patient B.E.
 This case is highly unusual, in that Dr. Weiss has opted to prescribe a patient
 methamphetamine (trade name Desoxyn). In this case, Dr. Weiss also found it
 appropriate to prescribe the patient alprazolam 12mg/day (see fill date 6/18/2018). One
 could reasonably expect that methamphetamine would aggravate an anxiety condition and
 that high-dose alprazolam would cause problems with alertness and attention. Based upon
 the concerns for methamphetamine prescribing mentioned earlier in this paper and Dr.
 Weiss’ use of high-dose Xanax in this patient, this prescribing pattern is, within a
 reasonable medical probability, outside the usual course of professional practice and
 without a legitimate medical purpose.

 Patient Jo.Fa.
 This is another case in which Dr. Weiss takes the very unusual step of prescribing
 methamphetamine to a patient. Dr. Weiss also prescribes alprazolam 6mg/day. The
 concerns here are identical to those for patient B.E., and this pattern of prescribing is,
 within a reasonable medical probability, outside the usual course of professional practice
 and without a legitimate medical purpose.

 Patient Wa.Johnc.
 This is another case in which Dr. Weiss found it appropriate to prescribe a patient
 methamphetamine, in addition to two benzodiazepine medications. Dr. Weiss repeatedly
 prescribed to patient W.J. methamphetamine 25mg/day, alprazolam 2mg/day and
 flurazepam 30mg/day. One could reasonably expect that methamphetamine would
 aggravate an anxiety condition and that the combination of alprazolam and flurazepam
 would cause problems with alertness and attention, due to their cumulative CNS
 depression. For the same reasons discussed under the preceding two cases, this pattern of
 prescribing is, within a reasonable medical probability, outside the usual course of
 professional practice and without a legitimate medical purpose.

 Patient Wa.Johna.
 On the PDMP there is another patient with a similar – but different – name to whom Dr.
 Weiss also prescribed methamphetamine, concurrently with Xanax. For the same
 reasons discussed under the other cases where Dr. Weiss co-prescribed methamphetamine
 and a sedative, this prescribing pattern is, within a reasonable medical probability, outside
 the usual course of professional practice and without a legitimate medical purpose.



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 Patient Sa.Pr.
 In this case, Dr. Weiss again prescribes a patient methamphetamine, in conjunction with
 Xanax. Here, he writes the patient for methamphetamine 20mg/day and Xanax
 8mg/day. For the same reasons given in multiple cases above, this prescribing pattern is,
 within a reasonable medical probability, outside the usual course of professional practice
 and without a legitimate medical purpose.

 Patient Da.St.
 Dr. Weiss prescribed to patient Da.St. the combination of methamphetamine 20mg/day
 and Xanax 3mg/day. Every patient case presented thus far under the use of
 methamphetamine in adults has involved the co-prescribing of Xanax. For the same
 reasons given in all of the preceding cases, this prescribing pattern is, within a reasonable
 medical probability, outside the usual course of professional practice and without a
 legitimate medical purpose.

 Patient P.V.
 This is yet another case that exemplifies Dr. Weiss’ willingness to prescribe
 methamphetamine to adults, his tendency to prescribe high-dose stimulants, and his
 tendency to prescribe high-dose stimulants in combination with sedatives (most
 frequently Xanax). On 8/02/2018, Dr. Weiss authorized methamphetamine 10mg/day
 and Xanax 6mg/day for patient P.V. Dr. Weiss altered this regimen, and began to
 prescribe to the patient a combination of Adderall XR 60mg/day, Adderall 90mg/day
 and Xanax 8mg/day. Summing the extended-release and immediate-release forms of
 Adderall, this provided the patient with a total of 150mg of mixed amphetamine salts
 per day. This cumulative dose of mixed amphetamine salts should be viewed as highly
 irregular and hazardous. This manner of prescribing clearly puts the patient at risk for
 stimulant toxicity; within a reasonable medical probability, it falls outside of the usual
 course of professional practice and is without a legitimate medical purpose.

 UNUSUAL PRESCRIBING PATTERN #2: High-dose Stimulant Medications with
 High-dose Sedatives

 Based upon my review of the PDMP, Dr. Weiss frequently prescribes to patients a
 combination of a DEA Schedule II stimulant, with a marked preference for mixed
 amphetamine salts, with a DEA Schedule IV sedative/anxiolytic, with a marked
 preference for alprazolam. He also demonstrates a clear pattern of prescribing high doses
 of stimulants and sedative/anxiolytics, even when prescribed concurrently. This
 combination is worrisome, due to the relatively high dosages of each controlled substance
 medication and due to their competing effects. It is interesting that Dr. Weiss routinely
 chooses Xanax as an anti-anxiety agent, rather than a benzodiazepine with less misuse
 potential and with less potential for rebound anxiety. Even if one assumed that there was
 a patient with severe panic disorder who did not respond to the first-line treatments of
 SNRIs and SSRIs, who did not respond to any benzodiazepine with less misuse liability
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 and who did not respond adequately to lower doses of alprazolam, it would seem very ill-
 advised to start the same patient on a stimulant medication. In all of these cases, it is
 reasonable to question if the patient’s anxiety was due primarily to either rebound anxiety
 as a consequence of high-dose Xanax use or to the use of high-dose stimulant or to a
 combination of these two factors. Each of these medication conditions may cause a
 patient to appear treatment refractory.

 Patient C.A.
 This case illustrates the most common controlled substance prescription combination seen
 on the provider-specific PDMP: the concurrent use of Adderall and Xanax. In this case, Dr.
 Weiss routinely prescribed patient C.A. the combination of #90 alprazolam 2mg tablets,
 corresponding to Xanax 6mg/day and #90 Adderall 20mg tablets, corresponding to
 Adderall 60mg/day. The PDMP does not include the provider’s intended treatment
 indications. Each of these medication conditions may have caused the patient to appear
 treatment refractory. It would also be interesting to review Dr. Weiss’ indication for using
 Adderall in this patient. If it was used for the FDA-labeled indication of “ADHD,” one
 would rightly question the impact of high-dose Xanax on an individual’s attention capacity
 and how this would impact the diagnosis of an attention-deficit syndrome. Here I will posit
 that a reasonable psychiatrist would not routinely prescribe high-dose Xanax, would not
 routinely prescribe high-dose Adderall and would almost never prescribe high-dose Xanax in
 combination with a high-dose stimulant medication. These same admonitions will apply to
 any case discussed hereafter that involves a daily Xanax dose greater than 4mg and a daily
 Adderall dose greater than 40mg. This manner of prescribing, within a reasonable medical
 probability, is outside of the usual course of professional practice.

 Patient K.A.
 This case causes concern, in that Dr. Weiss not only prescribes the patient Xanax and
 Adderall in combination, but because the Adderall dose is so high. On multiple occasions,
 Dr. Weiss prescribes patient K.A. #90 Adderall 30mg tablets, corresponding to a 30-day
 supply of medication. This means that the intended dosing for the patient was Adderall
 90mg po qam. This is over twice the daily maximum recommendation for immediate-
 release Adderall that is specified by multiple sources (Micromedex, CMS, PDR and Stahl).
 In my opinion, this dosing is excessive, places the patient and undue risk for hypertensive
 and vascular events and is very difficult to justify medically. This pattern of prescribing,
 within a reasonable medical probability, is outside of the usual course of professional
 practice and without a legitimate medical purpose.

 Patient M.A.
 This case, like others, demonstrates Dr. Weiss’ tendency to prescribe the combination of a
 stimulant (Adderall XR or Adderall) and Xanax. In many instances, Dr. Weiss prescribed to
 patient A.M. #90 Adderall 30mg tablets, corresponding to Adderall 90mg po daily. When
 he prescribed Adderall XR to the patient, he did so as #60 Adderall XR 30mg tablets,
 corresponding to Adderall XR 60mg po daily. With either preparation, IR or XR, Dr.
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 Weiss has prescribed the stimulant for unusual, excessive doses. This pattern of prescribing,
 within a reasonable medical probability, is outside of the usual course of professional
 practice.

 Patient D.A.
 This case is interesting in that Dr. Weiss has chosen to prescribe a given patient two
 benzodiazepine medications, clonazepam and temazepam (both DEA Schedule IV), in
 conjunction with high-dose Adderall. It also demonstrates his willingness to prescribe high
 dosage units of a controlled medication unnecessarily and to prescribe high-dose
 benzodiazepine medications on a long-term basis to a patient. In this case, Dr. Weiss
 prescribed various benzodiazepines to patient D.A., from 1/23/2015 to 3/17/2018. He
 frequently prescribed #240 clonazepam 0.5mg tablets to the patient, corresponding to 8
 tablets per day of the medication. Prescribing this number of clonazepam tablets is ill-
 advised and unnecessary, considering that clonazepam comes in a variety of tablet sizes,
 including 0.5mg tablets, 1mg tablets and 2mg tablets. Dosing clonazepam 8 times daily also
 makes very little sense based upon the pharmacology of clonazepam. Clonazepam has a long
 time to peak plasma level and a long half-life of elimination. These features make
 clonazepam a poor medication for “prn” use; however, they do make clonazepam a good
 candidate for scheduled, bid dosing. There appears to be no clinical utility for providing the
 patient with #8 clonazepam tablets for daily use, and the risk of diversion is made high by
 this manner of prescribing the drug. At another point (see PDMP fills for 10/14/2017), Dr.
 Weiss found it appropriate to prescribe to patient D.A. #90 clonazepam 2mg tablets and
 #30 temazepam 30mg tablets. Temazepam is a sedating benzodiazepine which used to be
 prescribed commonly for insomnia. In this case, one would question whether the patient’s
 high Adderall dose (immediate-release Adderall at 60mg po daily) was contributing to a
 sleep disturbance. Clonazepam is also a sedating benzodiazepine, and one should question
 the purpose of prescribing clonazepam with temazepam. At this doses, (i.e., clonazepam
 6mg daily and temazepam 30mg daily), there is a significant risk for cumulative CNS
 depression that puts the patient at unnecessary risk. This manner of prescribing, within a
 reasonable medical probability, is outside of the usual course of professional practice.

 Patient R-T.B.
 This case is one of the more egregious in the series. Dr. Weiss repeatedly authorized for
 this patient fills of #120 Adderall 30mg tablets, corresponding to a dosing of Adderall
 120mg po daily. He also prescribed to the patient #120 alprazolam 2mg tablets,
 corresponding to Xanax 8mg po daily. At first inspection, there appears to be no safe or
 legitimate medical use for Adderall prescribed in these quantities. The high dosage units
 for both Adderall and Xanax also increases the impact of any drug diversion that might be
 taking place. This prescribing pattern is, within a reasonable medical probability, outside
 of the usual course of professional practice and without a legitimate medical purpose.




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 Patient E.B.
 This case is also one of the more egregious in the series, and it is fraught with a number
 of prescribing irregularities. It exemplifies not only Dr. Weiss’ tendency to prescribe
 high-dose Adderall (in doses up to 90mg po daily) and high-dose Adderall XR (in doses
 up to 60mg daily), but also his tendency to prescribe the stimulant medications in
 conjunction with benzodiazepine medications and hypnotic medications, and over long
 periods of time. Dr. Weiss’ stimulant prescribing is most pronounced on 4/17/2015, when
 he issues simultaneous prescriptions for #60 Adderall XR 30mg caps, #90 Adderall 30mg
 tabs, in addition to #30 Xanax 2mg tablets. This amounts to 90mg of immediate-release
 Adderall and 60mg of extended-release Adderall daily. That provides a cumulative
 mixed amphetamine salt dosage of 150mg/day. Not only is this level of amphetamine
 prescribing for the patient unsafe, but I can imagine no legitimate medical purpose for
 this type of amphetamine regimen. On 3/15/2017, Dr. Weiss also writes the patient for
 #30 oxycodone 10mg tablets. This is clearly outside of the scope of medical practice for
 an outpatient Psychiatry clinic. Dr. Weiss also prescribes the combination of zolpidem
 ER 12.5mg po daily and clonazepam 4mg/day to patient E.B. There is also evidence that
 Dr. Weiss permitted early refills of Adderall (see prescription fill dates on 2/09/2015
 and 2/24/2015). For all of these reasons, this pattern of prescribing, within a reasonable
 medical probability, is outside of the usual course of professional practice and is without
 a legitimate medical purpose.

 Patient L.B.
 This is another particularly egregious case in which Dr. Weiss prescribes to a patient
 high-dose Adderall and high-dose Xanax to a patient, over a considerable period of time,
 from 1/19/2015 to 9/04/2018. Dr. Weiss prescribed this patient immediate-release
 Adderall in doses up to 120mg/day (see PDMP fill dates 12/30/2016 and 02/02/2017).
 He typically provided her with #90 Xanax 2mg tablets, corresponding to a 30-day supply
 of medication. This would allow for Xanax 6mg/day. For the same reasons discussed in
 the preceding cases, this pattern of prescribing, within a reasonable medical probability, is
 outside of the usual course of professional practice and is without a legitimate medical
 purpose.

 Patient Ry.Br.
 This case also illustrates Dr. Weiss’ preference for prescribing patients combinations of
 high-dose Xanax and high-dose Adderall. In this particular case, Dr. Weiss prescribed to
 the patient Adderall 120mg/day, in addition to Xanax 6mg/day. For the same reasons
 discussed in the preceding cases, this pattern of prescribing, within a reasonable medical
 probability, is outside of the usual course of professional practice and is without a
 legitimate medical purpose.

 Patient P.C.
 This is yet another case demonstrating Dr. Weiss’ tendency to write for combinations of
 Xanax and high-dose Adderall. The way in which these prescriptions were written
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 allowed for Xanax 8mg/day and Adderall 90mg/day. What is most interesting about
 this case is that Dr. Weiss appeared to write the patient for a 90-day supply of Adderall
 on 7/17/2015, as #180 Adderall 30mg tablets. Without viewing the actual prescription
 providing for this release of Adderall, it is difficult to determine what was presented to
 the pharmacy and how this request was processed by the pharmacy. That stated, the
 matter of Schedule II prescription refills has been addressed in a 2007 update to the Title
 21 Code of Federal Regulations, Part 1306:

        CONTROLLED SUBSTANCES LISTED IN SCHEDULE II
        §1306.12 Refilling prescriptions; issuance of multiple prescriptions.
        (a) The refilling of a prescription for a controlled substance listed in Schedule II
        is prohibited.
        (b)(1) An individual practitioner may issue multiple prescriptions authorizing the
        patient to receive a total of up to a 90-day supply of a Schedule II controlled
        substance provided the following conditions are met:
                (i) Each separate prescription is issued for a legitimate medical purpose
        by an individual practitioner acting in the usual course of professional practice;
                (ii) The individual practitioner provides written instructions on each
        prescription (other than the first prescription, if the prescribing practitioner
        intends for that prescription to be filled immediately) indicating the earliest date
        on which a pharmacy may fill each prescription;
                (iii) The individual practitioner concludes that providing the patient with
        multiple prescriptions in this manner does not create an undue risk of diversion
        or abuse;
                (iv) The issuance of multiple prescriptions as described in this section is
        permissible under the applicable state laws; and
                (v) The individual practitioner complies fully with all other applicable
        requirements under the Act and these regulations as well as any additional
        requirements under state law.
        (2) Nothing in this paragraph (b) shall be construed as mandating or encouraging
        individual practitioners to issue multiple prescriptions or to see their patients
        only once every 90 days when prescribing Schedule II controlled substances.
        Rather, individual practitioners must determine on their own, based on sound
        medical judgment, and in accordance with established medical standards,
        whether it is appropriate to issue multiple prescriptions and how often to see their
        patients when doing so.

 This is generally facilitated in practice by writing a prescription for a 30-day supply of the
 Schedule II medication, indicating no refills and by two additional written prescriptions,
 each for a 30-day supply, with no refills and a specific mention of “DO NOT FILL
 BEFORE [date].” In this manner, a patient may pick up three serial fills of the
 medication, each one month apart, to cover a total of 90 days. It appears that Dr. Weiss
 has written his prescriptions for both Adderall and Xanax, such that #180 dosage units are

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 released at once. This creates more of a diversion hazard, then when a single-month
 supply of medication is dispensed from the pharmacy. The pattern of prescribing in this
 case, within a reasonable medical probability, is outside of the usual course of
 professional practice and without a legitimate medical purpose.

 Patient An.Ci.
 This is yet another case illustrating Dr. Weiss’ strong tendency to prescribe a combination
 of high-dose Adderall and high-dose Xanax. In this case, he provided the patient with
 prescriptions that would allow for Xanax 8mg/day and Adderall 120mg/day. For the
 reasons provided in the above cases, this pattern of prescribing, within a reasonable
 medical probability, is outside of the usual course of professional practice and without a
 legitimate medical purpose.

 Patient Ja.De.
 This is yet another case, in which Dr. Weiss prescribes high-dose Xanax to a patient over
 a long term, and in conjunction with the muscle relaxant carisoprodol. Here I will
 restate that the prescribing of muscle relaxants in an outpatient Psychiatry practice is an
 oddity. In the course of providing long-term prescriptions of high-dose Xanax to patient
 Ja.De., Dr. Weiss escalated his dose of Xanax to 12mg/day. Not only is prescribing
 Xanax at this level ill-advised, as it puts the patient at risk of severe CNS depression and
 severe Xanax withdrawal, but the co-prescribing of carisoprodol and high-dose Xanax
 further increases the expected CNS depression. Based upon the dosing of Xanax achieved
 and the concurrent use of carisoprodol, Dr. Weiss’ prescribing of these sedating
 medications is, within a reasonable medical probability, outside of the usual course of
 professional practice and without a legitimate medical purpose. Interestingly, Dr. Weiss
 started patient Ja.De. on Adderall 90mg/day months after he started the patient on the
 combination of Xanax and carisoprodol. Here, one would rightly ask if Mr. Ja.De.
 developed attention problems as a result of the sedating medications that he was being
 prescribed.

 Patient G.E.
 The case of patient G.E. is another illustration of Dr. Weiss’ frequent tendency to
 prescribe high-dose stimulant medication with high-dose benzodiazepine medication.
 Here, he repeatedly prescribed to the patient Adderall XR 60mg/day, in addition to
 clonazepam 8mg/day. The manner in which he prescribed clonazepam is also a matter of
 concern. On multiple occasions, Dr. Weiss authorized fills for #240 clonazepam 1mg
 tablets. Here, I will apply the same concerns and cautions that I provided in the
 discussion for patient D.A., regarding clonazepam tablet size and dosage amount. For the
 reasons stated in the preceding cases, this pattern of prescribing, within a reasonable
 medical probability, is outside of the usual course of professional practice and is without
 a legitimate medical purpose.



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 Patient Ja.Fi.
 This is another patient to whom Dr. Weiss found it appropriate to prescribe a combination
 of high-dose stimulant medications and Xanax. What stands out in this case is the manner
 in which Dr. Weiss prescribed Adderall to the patient. He regularly prescribed #120
 Adderall 10mg tablets and #30 Adderall XR 20mg tablets to patient Ja.Fi. Not only is
 the total daily dose of mixed amphetamine salts high, at 60mg/day, but Dr. Weiss appears
 to unnecessarily write for high dosage units of immediate-release Adderall. The
 dispense amount of immediate-release Adderall, marked as a 30-day supply, would mean
 that the patient has #4 Adderall 10mg tablets at their disposal each day. Normally, a
 physician would get around this matter by either prescribing a larger tablet size of
 Adderall, with a smaller dispense amount, or they would abandon immediate-release
 Adderall for extended-release Adderall. In this case, Dr. Weiss appears to follow no
 particular prescribing strategy, as he prescribes both immediate-release and extended-
 release Adderall, in addition to #120 alprazolam tablets monthly. For the same reasons
 cited previously, this pattern of prescribing, within a reasonable medical probability, is
 outside of the usual course of professional practice and is without a legitimate medical
 purpose.

 Patient L.F.
 This is yet another case in which Dr. Weiss found it appropriate to prescribe Adderall and
 Xanax concurrently. Here, the Xanax dosage peaked at 10mg/day, while the patient was
 also prescribed Adderall 60mg/day. This pattern of prescribing high-dose stimulants
 with high-dose sedatives, within a reasonable medical probability, outside of the usual
 course of professional practice and is without a legitimate medical purpose.

 Patient J.H.
 This case is concerning, as Dr. Weiss found it appropriate to prescribe patient J.H. a
 combination of high-dose Adderall, Xanax and the stimulant modafinil (trade name
 Provigil), concurrently. Modafinil is FDA-approved for sleepiness associated with
 narcolepsy, obstructive sleep apnea, and shift work sleep disorder. It would not be
 considered unusual for a psychiatrist to prescribe modafinil for any of these indicated
 condition; however, a reasonable psychiatrist would not pair modafinil with mixed
 amphetamine salt and sedating benzodiazepine medications as Dr. Weiss has done. As an
 example, on 11/10/2015, Dr. Weiss prescribed to patient J.H. a combination of
 alprazolam 3mg/day, modafinil 200mg/day and Adderall 90mg/day. This combination
 does not make sense clinically, because if Dr. Weiss were treating sleepiness with
 modafinil, then simultaneously prescribing the sedative Xanax seems to defeat that
 purpose. A reasonable psychiatrist would also be too concerned about the cumulative
 stimulant effects of the medications to co-prescribe high-dose Adderall and modafinil. In
 June of 2016, Dr. Weiss began to prescribe to patient J.H. clonazepam, which is even
 more sedating than alprazolam. By July 2017, the dosing of clonazepam escalates to
 6mg/day, and this is prescribed concurrently with Adderall 120mg/day. For the reasons
 outlined in this section, Dr. Weiss’ pattern of prescribing to patient J.H., within a
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 reasonable medical probability, is outside of the usual course of professional practice and
 is without a legitimate medical purpose.

 Patient S.H.
 This is yet another case demonstrating Dr. Weiss’ proclivity for prescribing Xanax in
 conjunction with high-dose Adderall. On 3/31/2018, Dr. Weiss prescribed patient S.H.
 Adderall 90mg/day and Xanax 3mg/day. In the case of patient S.H., Dr. Weiss again
 repeats his common prescribing pattern of combining a sedative with high-dose DEA
 Schedule II stimulants. This pattern, within a reasonable medical probability, is outside of
 the usual course of professional practice and is without a legitimate medical purpose.

 Patient A.H.
 On the current PDMP, Dr. Weiss begins to prescribe a combination of Xanax 4mg/day
 and Valium 20mg/day to patient A.H. on 12/24/2014. Months later, Adderall 90mg/day
 appears on the PDMP, with an initial issuance date of 3/24/2015. There were no earlier
 entries for Adderall showing any type of titration of this medication. This case
 demonstrates again, Dr. Weiss’ preference for prescribing high-dose stimulants in
 conjunction with sedatives. This pattern, within a reasonable medical probability, is
 outside of the usual course of professional practice and is without a legitimate medical
 purpose.

 Patient P.H.
 This case is similar to that of patient A.H. in that Dr. Weiss prescribes to patient P.H. a
 total of two benzodiazepine medications – clonazepam and Xanax – months before
 initiating a high-dose stimulant medication. Dr. Weiss issued prescriptions for
 clonazepam 2mg/day and Xanax 2mg/day on 6/02/2015. On 10/09/2015, Dr. Weiss
 issued an initial prescription for Ritalin 60mg/day. As was the case with patient A.H.,
 there was no evidence of a stimulant titration on the PDMP. This prescribing pattern,
 within a reasonable medical probability, is outside of the usual course of professional
 practice and is without a legitimate medical purpose.

 Patient E.H.
 This is yet another case which showcases Dr. Weiss’ routine practice of prescribing high-
 dose stimulant in conjunction with a sedative/anxiolytic medication. Here, he prescribes
 patient E.H. immediate-release Adderall at doses up to 80mg/day, in addition to
 clonazepam 6mg/day. For reasons previously stated in this report, this pattern of
 prescribing, within a reasonable medical probability, is outside of the usual course of
 professional practice and is without a legitimate medical purpose.

 Patient B.K.
 This case offers another example of a very concerning prescribing pattern in which Dr.
 Weiss prescribes a patient a very high dose of a stimulant, in addition to multiple
 sedatives, concurrently. Here, he prescribes a female patient Xanax 8mg/day,
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 clonazepam 4mg/day, Ambien 10mg/day and Adderall 120mg/day. In this case, the
 patient is put at risk of cumulative CNS depression and sedative toxicity by the
 combination of Xanax, clonazepam and Ambien. In another section of this report, I have
 also discussed the FDA advisory regarding the prescribing of Ambien to female patients.
 Patient B.K. is also put at risk of stimulant toxicity, based upon the amount of Adderall
 prescribed to her. This pattern of prescribing is very alarming and, within a reasonable
 medical probability, is outside of the usual course of professional practice and is without
 a legitimate medical purpose.

 Patient Ky.Ke.
 Here, Dr. Weiss prescribes patient a combination of Adderall 120mg/day and
 alprazolam 8mg/day. There appear to be early refills of Adderall on 6/30/2015 and
 9/23/2015. For reasons previously stated in this report, this pattern of prescribing, within
 a reasonable medical probability, is outside of the usual course of professional practice
 and is without a legitimate medical purpose.

 Patient P.K.
 This is another case illustrating Dr. Weiss’ preference for prescribing high-dose Adderall
 in combination with Xanax. Here, he repeatedly prescribes Adderall 90mg/day and
 Xanax 8mg/day. There appears to be an early refill of Adderall on 8/23/2018. For
 reasons previously stated in this report, this pattern of prescribing, within a reasonable
 medical probability, is outside of the usual course of professional practice and is without
 a legitimate medical purpose.

 Patient Ke.Ke.
 This case is another example of Dr. Weiss’ willingness to prescribe high-dose stimulants
 in conjunction with multiple benzodiazepine medications. He prescribed to patient
 Ke.Ke. in this manner over a long period of time. By early 2018, this combination
 included. Adderall 60mg/day, Adderall XR 60mg/day, clonazepam 4mg/day and
 alprazolam 4mg/day. For reasons previously stated in this report, this pattern of
 prescribing, within a reasonable medical probability, is outside of the usual course of
 professional practice and is without a legitimate medical purpose.

 Patient J.K.
 This case is interesting in that Dr. Weiss prescribed Xanax to patient J.K., beginning in
 September 2014. In March 2018, after prescribing Xanax to patient J.K. for more than
 three years, Dr. Weiss introduces an initial prescription for methylphenidate
 40mg/day, without any evidence of a titration on the PDMP. For reasons previously
 stated in this report, this pattern of prescribing, within a reasonable medical probability, is
 outside of the usual course of professional practice and is without a legitimate medical
 purpose.



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 Patient S.K.
 This is yet another case in which Dr. Weiss found it appropriate to prescribe high-dose
 Adderall in conjunction with multiple sedative drugs, concurrently. At the same point in
 time, Dr. Weiss prescribes patient S.K. a combination of Adderall 80mg/day,
 alprazolam 8mg/day and clonazepam 2mg/day. For reasons previously stated in this
 report, this pattern of prescribing, within a reasonable medical probability, is outside of
 the usual course of professional practice and is without a legitimate medical purpose.

 Patient M.K.
 This is another case in which Dr. Weiss prescribes to a patient a combination of high-
 dose stimulant and a high-dose sedative. It is also a reminder that whenever Dr. Weiss
 prescribes a stimulant other than Adderall, he frequently uses a higher dose range of
 medication than most would recommend. In this case, he prescribes patient M.K. a
 combination of methylphenidate 80mg/day and clonazepam 8mg/day. For reasons
 previously stated in this report, this pattern of prescribing, within a reasonable medical
 probability, is outside of the usual course of professional practice and is without a
 legitimate medical purpose.

 Patient X.L-B.
 In this case, Dr. Weiss found it appropriate to prescribe this patient a combination of
 high-dose stimulant and high-dose benzodiazepine. On 10/06/2017, Dr. Weiss issued
 prescriptions for Adderall 60mg/day and lorazepam 8mg/day. In June 2017, Dr. Weiss
 writes what appears to be two prescriptions for morphine sulfate ER 15mg tablets.
 These two opioid prescriptions run concurrent with the prescriptions for lorazepam.
 Here, I will posit that there is no place for narcotic analgesia in an outpatient psychiatric
 practice, as this is well outside the scope of practice. By prescribing a high-dose
 benzodiazepine with the prescription opioid morphine (a DEA Schedule II controlled
 substance), Dr. Weiss put the patient at risk for significant CNS depression. There is a
 well-known synergistic effect when opioids and benzodiazepines are taken together, such
 that the CNS depression achieved in that manner is greater than what one would expect
 from the additive effects of each medication considered individually. This is the reason
 that the combination of benzodiazepines and prescription opioids are implicated in many
 overdose deaths. For the reasons outlined here and in previous cases in this section, this
 pattern of prescribing is, within a reasonable medical probability, outside of the usual
 course of professional practice and is without a legitimate medical purpose.

 Patient C.L.
 This case is another that suggests inappropriate prescribing by Dr. Weiss, based upon his
 use of very high dose stimulant and very high dose sedative in the same patient. Here, he
 prescribes patient C.L. a combination of Adderall 120mg/day and Xanax 12mg/day. As
 I have discussed at the outset of this report, both stimulant medications and
 benzodiazepines have toxicity syndromes which include grave medical outcomes, up to
 and including death. In the case of patient C.L., each of these medications are prescribed

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 in a very high range, where one would reasonably expect some toxic effects. I also
 discussed earlier in this report how a stimulant medication can generate anxiety
 symptoms, and how a sedative medication can cause cognitive impairment and memory
 disruption. In this case, one can reasonably predict that each medication can cause or
 exacerbate the very condition that the other medication is intended to treat (e.g., high-
 dose Adderall causing or worsening panic symptoms or high-dose Xanax interfering with
 attention). This manner of prescribing these medications runs contrary to sound clinic
 practice and, within a reasonable medical probability, falls outside of the usual course of
 professional practice and is without a legitimate medical purpose.

 Patient Tr.Ma.
 In this case, Dr. Weiss prescribes to a patient a combination of modafinil 200mg/day,
 Xanax 8mg/day and Adderall 120mg/day. I previously covered my concerns about the
 co-prescribing of modafinil, an amphetamine salt and a high-dose benzodiazepine in the
 discussion of patient J.H. It makes no clinical sense to prescribe modafinil for
 wakefulness in a patient who is prescribed Xanax 8mg/day; moreover, it makes no
 clinical sense to prescribe modafinil for wakefulness in a patient who is prescribed mixed
 amphetamine salts at 120mg/day. For the same reasons provided under the discussion of
 patient J.H., this manner of prescribing, within a reasonable medical probability, is
 outside of the usual course of professional practice and is without a legitimate medical
 purpose.

 Patient Th.Ma.
 This is yet another case of Dr. Weiss prescribing his preferred stimulant, Adderall, in
 conjunction with his preferred sedative, Xanax. Here, he prescribes patient Th.Ma. a
 combination of Adderall 90mg/day and Xanax 8mg/day. This manner of prescribing a
 high-dose stimulant with a high-dose sedative, within a reasonable medical probability, is
 outside of the usual course of professional practice and is without a legitimate medical
 purpose.

 Patient D.M.
 This is another case demonstrating Dr. Weiss’ preferred medication combination,
 Adderall and Xanax. Here he provides the patient with repeated prescriptions for
 Adderall 80mg/day and Xanax 8mg/day. This manner of prescribing a high-dose
 stimulant with a high-dose sedative, within a reasonable medical probability, is outside of
 the usual course of professional practice and is without a legitimate medical purpose.

 Patients A.M. and P.M
 These two patients share the last name, and Dr. Weiss prescribed both of them the same
 regimen: Adderall 90mg/day and Xanax 8mg/day. For the same reasons repeatedly
 cited in this section, this manner of prescribing, within a reasonable medical probability,
 is outside of the usual course of professional practice and is without a legitimate medical
 purpose.

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 Patient W.P.
 In this case, Dr. Weiss prescribes a patient a combination of methylphenidate >
 90mg/day and Xanax 8mg/day. While the co-prescribing of high-dose stimulant and
 high-dose sedative appears fairly routine for Dr. Weiss, what is interesting here is that he
 chooses to issue the Ritalin prescription as #290 methylphenidate 10mg tablets,
 covering a 33-day supply of the medication. This results in the unnecessary dispensing of
 high-dosage units of methylphenidate; this in turn increases the impact of any drug
 diversion that may be occurring. When a reasonable psychiatrist decides to issue a
 methylphenidate prescription that involves a dose range of 40mg/day to 60mg/day, they
 generally write for the 20mg tablet size to limit the dosage units. Alternatively, a
 reasonable psychiatrist might consider an extended-release form of methylphenidate that
 offers even fewer dosage units at equivalent dosing. The manner in which these
 medications have been prescribed – the dosages of each medication, the combination of a
 high-dose stimulant and a high-dose sedative, and the dosage units written for –, within a
 reasonable medical probability, is outside of the usual course of professional practice and
 is without a legitimate medical purpose.

 Patient Th.Ri.
 This is yet another case in which Dr. Weiss demonstrates his tendency to write for a high-
 dose Schedule II stimulant, concurrently with a DEA Schedule IV sedative. This
 prescribing pattern for patient Th.Ri begins in July 2017, when Dr. Weiss writes for
 Adderall 90mg/day and clonazepam 4mg/day. What is most interesting about this case
 is Dr. Weiss’ decision to write for a diazepam suspension on both 9/15/2017 and
 11/26/2017. On 9/15/2017, 700mL of a 5mg/5mL solution were dispensed; on
 11/26/2017, 1200cc of a 5mg/5mL suspension were dispensed. This is very concerning,
 as liquid suspensions of sedative medications come with a much higher risk of abuse and
 unintentional overdose. Sometimes, physicians will write for a liquid suspension form of
 a medication if required for tube feeds or if there is a swallowing dysfunction. In this
 case, there appeared to be no requirement for a liquid form of medication, when Dr.
 Weiss began prescribing the patient clonazepam and Adderall in July 2017. Here, a
 review of the patient chart will reveal if there was a valid medical reason to provide the
 patient with a clonazepam suspension. Consider that the 1200cc container(s) of diazepam
 suspension contained a total of 1,200mg of diazepam. Consider then that a contemporary
 shot glass with a 2 oz. capacity could hold almost 60mg of diazepam in this solution,
 within its walls. The risk of unintentional overdose should be apparent, and this is why a
 reasonable psychiatrist would not provide diazepam in a liquid suspension unless there
 was a good clinical reason for doing so. The prescription for the 1200cc dispensing of the
 diazepam 5mg/5mL solution corresponded to a 30 day supply of the medication,
 indicating that Dr. Weiss intended for the patient to use this medication at a rate of
 40mg/day. This pattern of prescribing high-dose stimulant medication with a sedative,
 within a reasonable medical probability, is outside of the usual course of professional
 practice and is without a legitimate medical purpose.

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 Patient Ch.Ri.
 This case again illustrates Dr. Weiss’ common practice of prescribing high-dose stimulant
 and high-dose sedative concurrently. Here, he repeatedly writes the patient for Adderall
 120mg/day and Xanax 8mg/day. For the reasons addressed repeatedly in this section,
 this manner of prescribing, within a reasonable medical probability, is outside of the usual
 course of professional practice and is without a legitimate medical purpose.

 Patient Je.Ra.
 This is yet another case of Dr. Weiss co-prescribing a DEA Schedule II stimulant and a
 DEA Schedule IV sedative. Here, he writes for Vyvanse 70mg/day and clonazepam
 6mg/day. An additional, strange feature of this case, is the manner in which Dr. Weiss,
 over the course of prescribing to the patient, appears to alternate haphazardly between
 Vyvanse and Adderall. Then, on some dates, such as 7/19/2017 and 3/01/2018, he writes
 for both Adderall 60mg/day and Vyvanse 70mg/day on the same date. This use of
 two high-dose stimulants concurrently is ill-advised, and the pattern of prescribing to
 patient Je.Ra, within a reasonable medical probability, is outside of the usual course of
 professional practice and is without a legitimate medical purpose.

 Patient B.R.
 This case reveals Dr. Weiss’ usual co-prescribing of Adderall, at 90mg/day and Xanax,
 at ~4.5mg/day, over a period of years. Other irregularities in this case include Dr. Weiss’
 repeated prescribing of Midrin (a DEA Schedule IV migraine abortive) and his repeated
 prescribing of the muscle relaxant carisoprodol (DEA Schedule IV). Psychiatrists do no
 typically prescribe muscle relaxants or Midrin for psychiatric conditions that fall under
 their scope of practice. Dr. Weiss also repeatedly prescribes Ambien to the patient, and,
 on 7/09/2018, he prescribes to this female patient a combination of #463 Xanax 1mg
 tablets, #312 carisoprodol 350mg tablets, #90 zolpidem ER 12.5mg tablets, #14
 zolpidem 10mg tablets and #27 Adderall 30mg tablets. The Adderall issuance on this
 date corresponds to a 9-day supply of medication, indicating that Dr. Weiss intended for
 the patient to take Adderall 90mg/day. The Xanax issuance on 7/09/2018 corresponds to
 a 104-day supply of medication. Here, as in other cases, Dr. Weiss has provided,
 unnecessarily, high-dosage units of multiple controlled substance, operating in a way that
 a reasonable psychiatrist would decide against. To add to the concern in this case, after
 issuing an authorization for a 104-day supply of Xanax on 7/09/2018, Dr. Weiss then
 issues an authorization for an additional, early fill of #135 alprazolam 1mg tablets on
 7/21/2018. On 7/10/2018, he provided an authorization for an additional, early fill of
 #90 Adderall 30mg tablets. This pattern is highly suspicious for drug abuse and/or
 diversion. For all of the reasons outlined in this discussion, Dr. Weiss’ pattern of
 prescribing to patient B.R., within a reasonable medical probability, is outside of the
 usual course of professional practice and is without a legitimate medical purpose.



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 Patient E.S.
 This is yet another case which demonstrates Dr. Weiss’ pattern of prescribing high-dose
 stimulant and high-dose sedative concurrently. Here, he repeatedly prescribes patient E.S.
 a combination of Adderall 120mg/day and Xanax 8mg/day. For the reasons addressed
 repeatedly in this section, this manner of prescribing, within a reasonable medical
 probability, is outside of the usual course of professional practice and is without a
 legitimate medical purpose.

 Patient Do.Su.
 This is yet another case in which Dr. Weiss found it appropriate to prescribe a patient
 high-dose stimulant concurrently with high-dose sedative. In this case, he provided
 patient Do.Su. with repeated prescriptions for Adderall, allowing for doses as high as
 120mg/day, while also providing repeated prescriptions for Xanax, up to 6mg/day. For
 the reasons addressed repeatedly in this section, this manner of prescribing, within a
 reasonable medical probability, is outside of the usual course of professional practice and
 is without a legitimate medical purpose.

 Patients WR.T.
 This is yet another case in which Dr. Weiss combines a high-dose stimulant with a
 sedative. Here, he repeatedly prescribes to patient WR.T. a combination of Adderall
 120mg/day and Xanax 6mg/day. For the reasons addressed repeatedly in this section,
 this manner of prescribing, within a reasonable medical probability, is outside of the usual
 course of professional practice and is without a legitimate medical purpose.

 Patient J.T.
 This is yet another case in which Dr. Weiss combines a high-dose stimulant with a
 sedative. Here, he repeatedly prescribes to patient J.T. a combination of Adderall
 90mg/day and Xanax 6mg/day. For the reasons addressed repeatedly in this section, this
 manner of prescribing, within a reasonable medical probability, is outside of the usual
 course of professional practice and is without a legitimate medical purpose.

 Patient Ty.Wa.
 This is yet another case demonstrating Dr. Weiss’ widespread, concurrent prescribing of a
 high-dose stimulant and a high-dose sedative. Here, he repeatedly prescribes patient T.W.
 a combination of Adderall 120mg/day and Xanax 8mg/day, for a period greater than 3
 ½ years. For the reasons addressed repeatedly in this section, this manner of prescribing,
 within a reasonable medical probability, is outside of the usual course of professional
 practice and is without a legitimate medical purpose.

 Patient B.Wh.
 In the case of patient B.Wh., the typical Adderall dose is 90mg/day, in conjunction with
 Xanax 8mg/day. For the reasons addressed repeatedly in this section, this manner of
 prescribing, within a reasonable medical probability, is outside of the usual course of
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 professional practice and is without a legitimate medical purpose.

 Patient B.Z.
 This is yet another case demonstrating Dr. Weiss’ habitual prescribing of high-dose
 stimulant and high-dose sedative in combination. Here, he repeatedly prescribes patient
 B.Z. Adderall 90mg/day and Xanax 8mg/day. For the reasons addressed repeatedly in
 this section, this manner of prescribing, within a reasonable medical probability, is
 outside of the usual course of professional practice and is without a legitimate medical
 purpose.

 UNUSUAL PRESCRIBING PATTERN #3: High-dose Stimulants and Stimulants in
 Combination

 Dr. Weiss routinely prescribed to patients high doses of stimulant medications, including
 doses that one would reasonably expect to cause the patient stimulant toxicity. While Dr.
 Weiss prescribed a range of stimulant medications to patients – including
 methamphetamine –, he demonstrated a clear preference for immediate-release Adderall,
 also known as mixed amphetamine salt.

 Dr. Weiss routinely prescribed stimulant medications at the upper end of their usual
 dosing range or well beyond the upper end of their usual dosing range. Concerning
 immediate-release Adderall, CMS has published, “Only in rare cases will it be necessary
 to exceed a total of 40mg per day.” Likewise, Micromedex informs us that doses of
 immediate-release Adderall greater than 40mg/day are rarely needed. Concerning
 Adderall XR, the usual adult dosage is 20mg/day; Dr. Stahl advises a maximum of
 30mg/day. The PDR publishes that the average effective dose range of methylphenidate
 in adults is 20 to 30mg per day; the maximum dose of methylphenidate, per FDA
 labeling, is 60mg/day. Concerning methylphenidate ER, the FDA labelling specifies that
 the maximum dosage of methylphenidate ER should not exceed 72mg/day in adults and
 adolescents. Concerning Vyvanse, CMS recommends a maximum dose of 70mg/day, and
 this is the maximum specified in the FDA labelling.

 To summarize this information, I will summarize usual prescribing by repeating information
 that I provided at the beginning of this report. It should be a rare event to see Adderall IR
 prescribed at greater than 40mg/day; Adderall XR at greater than 30mg/day and
 methylphenidate IR at greater than 40mg/day. Infrequent excursions outside of these ranges
 may be seen; however, these excursions should not be a pattern of practice. Moreover, it
 should be a cause for concern, any time that methylphenidate ER is prescribed at doses
 greater than 72mg/day or Vyvanse is prescribed at greater than 70mg/day. Dr. Weiss
 sometimes achieved an overall high stimulant dose – and increased the risk of stimulant
 toxicity – in certain patients by combining stimulant medications in an unusual and reckless
 way.


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 Patient Co.Be.
 This case demonstrates Dr. Weiss’ tendency to prescribe unusually high doses of stimulant
 medication. Here, he prescribes a patient Vyvanse 80mg po daily. This is clearly in excess
 of the maximum recommended dosages according to Micromedex and the PDR. FDA
 labelling also identifies a maximum Vyvanse dose of 70mg/day for the ADHD
 indication. At a point later in treatment, Dr. Weiss prescribes to Patient Co.Be. Adderall
 60mg/day. This manner of prescribing unusually high doses of a stimulant medication,
 within a reasonable medical probability, is outside of the usual course of professional
 practice and is without a legitimate medical purpose.

 Patient Kr.Bi.
 This case is another example of Dr. Weiss prescribing an unusually high dose of a stimulant
 medication. In this case, he authorizes repeated refills for Adderall XR 50mg po daily. This
 dosage far exceeds the usual dosage of Adderall XR 20mg/day in adults. This manner of
 prescribing unusually high doses of a stimulant medication, within a reasonable medical
 probability, is outside if the usual course of professional practice and is without a legitimate
 medical purpose.

 Patient J.C.
 This case demonstrated Dr. Weiss’ achievement of high levels of stimulant exposure by
 combining stimulant medications. In this case, he provides recurrent prescriptions of
 Adderall 60mg/day in conjunction with Adderall XR 20mg/day. This manner of
 prescribing to achieve a high level of exposure to mixed amphetamine salts, within a
 reasonable medical probability, is outside of the usual course of professional practice and
 is without a legitimate medical purpose.

 Patient M.C.
 This is another case of Dr. Weiss prescribing an unusually high dose of a stimulant
 medication to a patient. Here, he repeatedly prescribes Vyvanse 120mg/day to a patient.
 Recall that the maximum dose of Vyvanse established by the FDA labelling is 70mg/day.
 This manner of prescribing unusually high doses of a stimulant medication, within a
 reasonable medical probability, is outside of the usual course of professional practice and is
 without a legitimate medical purpose.

 Patient Ch.Co.
 This is another case in which Dr. Weiss appears to authorize 90-day supplies of
 Adderall and Adderall XR. This allows the patient to obtain 180 dosage units of
 Adderall and Adderall XR on multiple occasions. As an example of this, Dr. Weiss
 prescribed to the patient #180 Adderall XR 30mg capsules to the patient on 8/09/2015,
 and these were filled on 8/14/2015. It appears that Dr. Weiss entered an additional, early
 authorization for #60 Adderall XR 30mg capsules the next day, on 8/10/2015, and these
 were filled on 8/18/2015. Counting the two prescriptions, Dr. Weiss authorized a total of
 240 dosage units of Adderall XR to the patient, between 8/09/2015 and 8/10/2015. As
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 mentioned in the discussion of other cases within this report, this authorization of high
 dosage units is unnecessary, reckless and facilitates diversion, wherever that may be
 taking place. The authorization of #180 Adderall XR 30mg capsules on 8/09/2015
 corresponded to a 90-day supply of the medication, meaning that Dr. Weiss intended for
 the patient to take a minimum of Adderall XR 60mg/day. This is three times the
 established usual dosage of Adderall XR. It also appears that the patient may have
 picked up an early refill of Adderall XR on 6/09/2016. This manner of prescribing – to
 include the dosage of stimulant medications achieved and the release of high dosage units
 of stimulant medications –, within a reasonable medical probability, is outside of the
 usual course of professional practice and is without a legitimate medical purpose.

 Patient Am.Cr.
 This is a case in which Dr. Weiss repeatedly prescribed to this patient #120 Adderall 30mg
 tablets, corresponding to an intended dosage of Adderall 120mg/day. This manner of
 prescribing unusually high doses of a stimulant medication, within a reasonable medical
 probability, is outside of the usual course of professional practice and is without a legitimate
 medical purpose.

 Patient Ch.Cu.
 This is a case in which Dr. Weiss repeatedly prescribed to this patient #120 Adderall 30mg
 tablets, corresponding to an intended dosage of Adderall 120mg/day. This manner of
 prescribing unusually high doses of a stimulant medication, within a reasonable medical
 probability, is outside of the usual course of professional practice and is without a legitimate
 medical purpose.

 Patient Au.Da.
 In the case of patient Au.Da., Dr. Weiss again demonstrates his willingness to prescribe
 unusually high doses of DEA Schedule II stimulant medications. He initially prescribes
 patient Au.Da. immediate-release Adderall 90mg/day. Later in treatment, he prescribes him
 methylphenidate ER 108mg/day. This dose of methylphenidate ER exceeds the maximum
 of 72mg/day specified by the FDA labeling. This manner of prescribing unusually high
 doses of stimulant medications, within a reasonable medical probability, is outside of the
 usual course of professional practice and is without a legitimate medical purpose.

 Patient Ra.Da.
 Dr. Weiss prescribes multi-month supplies of immediate-release methylphenidate to this
 patient, resulting in the dispensing of high dosage units. On 7/24/2015, Dr. Weiss writes
 for #180 methylphenidate 20mg tablets, corresponding to a 90-day supply of
 medication. On 9/30/2015, he writes for #360 methylphenidate 20mg tablets,
 corresponding to a 180-day supply of medication. This manner of prescribing multi-
 month supplies of a DEA Schedule II medication is reckless and unnecessary, and it
 cannot be argued from the standpoint of cost or insurance company pressure to write a
 single prescription for a greater-than-30-day supply of a DEA Schedule II stimulant
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 medication. Here I will assert that a reasonable physician would have seen the hazard
 (i.e., the community risk from potential distribution) in issuing a 90-day or 180-day
 supply of methylphenidate and would have instead issued single prescriptions allowing
 for individual 30-day fills of the medication. The issuance of a 180-day supply of
 methylphenidate appears to be a violation of Title 21 Code of Federal Regulations,
 Part 1306, as covered in the discussion for patient P.C.

 Patient K.E.
 This is another case in which Dr. Weiss achieves high levels of mixed amphetamine salt
 dosing, by using both immediate-release and extended-release forms of Adderall. Here,
 he simultaneously prescribes patient K.E. Adderall XR 60mg/day and Adderall
 60mg/day. For reasons cited earlier in this section, this manner of prescribing, within a
 reasonable medical probability, is outside of the usual course of professional practice and
 is without a legitimate medical purpose.

 Patient B.F.
 In this case, Dr. Weiss concurrently prescribes to a patient Adderall 60mg/day and
 Vyvanse 70mg/day. Combining two different stimulants, each at the upper end of their
 dosing ranges, is an unusual practice. This particular combination offers no unique
 clinical benefit and places the patient and undue risk of stimulant toxicity. This manner of
 prescribing, within a reasonable medical probability, is outside of the usual course of
 professional practice and is without a legitimate medical purpose.

 Patient A.G.
 Dr. Weiss regularly prescribed to patient A.G. Adderall XR 90mg/day. This is far in
 excess of the usual dosage of Adderall XR, at 20mg/day. It also exceeds the maximum
 dose of 30mg/day recommended by Dr. Stahl, and it exceeds any dosage given to patients
 during the clinical trials which led to the FDA approval of Adderall XR for the treatment
 of ADHD. This is covered in the FDA data sheet for Adderall XR:

        A double-blind, randomized, placebo-controlled, parallel-group study was
        conducted in adults (N=255) who met DSM-IV-TR criteria for ADHD. Patients
        were randomized to fixed dose treatment groups receiving final doses of 20, 40,
        or 60 mg of ADDERALL XR® or placebo once daily in the morning for four
        weeks. Significant improvements, measured with the Attention Deficit
        Hyperactivity Disorder-Rating Scale (ADHD-RS), an 18- item scale that measures
        the core symptoms of ADHD symptoms, were observed at endpoint for all
        ADDERALL XR® doses compared to patients who received placebo for all four
        weeks. There was not adequate evidence that doses greater than 20 mg/day
        conferred additional benefit.

 This serves as a reminder that the highest titration of Adderall XR used in the clinical
 trial was 60mg/day, and there was no evidence that using doses greater than
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 20mg/day provided additional benefit to patients. This pattern of prescribing
 unreasonably high doses of stimulant mediation, within a reasonable medical probability,
 is outside of the usual course of professional practice and is without a legitimate medical
 purpose.

 Patient Je.Lo.
 This case is not unusual for Dr. Weiss, in that it demonstrates his preference for
 prescribing high dose stimulants, particularly Adderall. Here, he prescribes the patient
 Adderall in doses up to 120mg/day. What is also interesting about this case is that there
 appear to be early refills of Adderall on 10/31/2017 and on 7/23/2018. This pattern of
 prescribing unreasonably high doses of stimulant mediation, within a reasonable medical
 probability, is outside of the usual course of professional practice and is without a
 legitimate medical purpose.
 Patient L.L.
 In this case, Dr. Weiss prescribes two high-dose stimulant medications to a patient,
 concurrently. These recurring prescriptions included Adderall 60mg/day and Adderall
 XR 40mg/day. This pattern of prescribing high total doses of mixed amphetamine salts,
 within a reasonable medical probability, is outside of the usual course of professional
 practice and is without a legitimate medical purpose.

 Patient Am.Ma.
 This is another case which demonstrates Dr. Weiss’ preference for prescribing high-dose
 stimulants, in conjunction with a sedative. Here, he writes recurring prescriptions for
 methylphenidate 80mg/day and Xanax. The reader will recall that the average effective
 dose range of methylphenidate for adults with ADHD is 20 to 30mg per day; the
 maximum dosage per FDA labelling is 60mg/day. This pattern of prescribing
 unreasonably high doses of stimulant mediation, within a reasonable medical probability,
 is outside of the usual course of professional practice and is without a legitimate medical
 purpose.

 Patient K.M.
 This case serves as a reminder that Dr. Weiss frequently prescribes stimulant medications
 at excessive dosing. Here, he provides repeated prescriptions for Vyvanse 100mg/day.
 Recall that the FDA labelling for Vyvanse specifies a maximum dose of 70mg/day. This
 pattern of prescribing unreasonably high doses of stimulant mediation, within a
 reasonable medical probability, is outside of the usual course of professional practice and
 is without a legitimate medical purpose.

 Patient S.N.
 Dr. Weiss repeatedly prescribed patient S.N. methylphenidate 80mg/day, sometimes in
 conjunction with Ambien 10mg/day. This pattern of prescribing unreasonably high doses
 of stimulant mediation, within a reasonable medical probability, is outside of the usual
 course of professional practice and is without a legitimate medical purpose.
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 Patient Da.Sp.
 Dexedrine is a DEA schedule II stimulant. In this case, Dr. Weiss prescribes a patient a
 combination of Dexedrine 30mg/day and Dexedrine ER 20mg/day. Here he also
 writes, unnecessarily, for high dosage units of each of these medications. On 6/19/2015,
 he writes for #540 Dexedrine 5mg tablets, corresponding to a 90-day supply of this
 medication. On several occasions, he writes for #180 Dexedrine ER 10mg capsules,
 corresponding to a 90-day supply of the medication. No reasonable psychiatrist would
 issue a prescription for these high dosage units of the DEA Schedule II stimulants, as they
 would recognize the risk of drug abuse and/or diversion in so doing. The FDA-approved
 uses of Dexedrine include the treatment of narcolepsy and the treatment of ADHD in
 patients age 6 to 16 years. The FDA label provides that, when treating ADHD in pediatric
 patients age 6 and older, only in rare cases will it be necessary to exceed 40mg/day. This
 manner of prescribing high-dose Dexedrine and high-dosage units of Dexedrine, within a
 reasonable medical probability, is outside of the usual course of professional practice and
 is without a legitimate medical purpose.

 Patient Ry.Ro.
 This is another case demonstrating Dr. Weiss’ tendency to combine stimulant
 medications, while achieving high cumulative stimulant dosing. Here, he repeatedly
 writes patient Ry.Ro. for Adderall 60mg/day, concurrent with Adderall XR
 40mg/day. This provided the patient with a cumulative mixed amphetamine salt
 dosage of 100mg/day. This pattern of prescribing unreasonably high doses of stimulant
 mediations, within a reasonable medical probability, is outside of the usual course of
 professional practice and is without a legitimate medical purpose.

 Patient J.S.
 This is yet another case of Dr. Weiss achieving an excessive, cumulative stimulant dose
 by combining stimulants. In this case, he repeatedly prescribes to patient J.S. a
 combination of Vyvanse 70mg/day and Adderall 90mg/day. This pattern of prescribing
 combined, high doses of stimulant mediations, within a reasonable medical probability, is
 outside of the usual course of professional practice and is without a legitimate medical
 purpose.

 Patient F.S.
 This is yet another case of Dr. Weiss achieving an excessive, cumulative stimulant dose
 by combining stimulants. In this case, he repeatedly prescribes to patient F.S. a
 combination of Adderall XR 90mg/day and Vyvanse 70mg/day. This pattern of
 prescribing combined, high doses of stimulant mediations, within a reasonable medical
 probability, is outside of the usual course of professional practice and is without a
 legitimate medical purpose.

 Patient Tr.Ye.
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 The PDMP opens for patient Tr.Ye. with Dr. Weiss prescribing to him a combination of
 methylphenidate 80mg/day and Xanax 3mg/day. Approximately one month after the
 initial entries for methylphenidate and Xanax, Dr. Weiss adds the hypnotic zolpidem.
 Here, one should rightly wonder if Dr. Weiss considered that his use of high-dose
 methylphenidate was contributing to – or causing – the patient’s problems with anxiety or
 insomnia. This pattern of prescribing unreasonably high doses of stimulant mediation,
 within a reasonable medical probability, is outside of the usual course of professional
 practice and is without a legitimate medical purpose.

 UNUSUAL PRESCRIBING PATTERN #4: High-dose Sedatives and Sedatives in
 Combination

 In a manner similar to his stimulant prescribing, Dr. Weiss demonstrated a preference for
 use of high-dose sedative/anxiolytic medications. In some cases, this was achieved with a
 single sedative medication; in a number of cases, it was achieved with stacking of
 sedative medications. In each of these ways, Dr. Weiss put patients at risk of significant
 sedative toxicity and cumulative CNS depression. In an earlier section of this report, I
 mentioned that sedative medications are not the first-line or second-line treatment for
 most anxiety disorders. I also provided a number of reasons that Xanax was a particularly
 problematic sedative/anxiolytic medication and that for that reason, many psychiatrists
 minimize its use in their practice. In the same section, I also revealed that, for the general
 “anxiety” indication, the label for Xanax specifies a maximum daily dose of 4mg/day in
 adults. I also referenced the APA Practice Guideline for panic disorder which provided
 the usual therapeutic dose for several benzodiazepines. This guideline provided a usual
 therapeutic dose of 2-4mg/day, when Xanax is selected as a sedative/anxiolytic treatment.
 The same guideline made clear that SSRI’s, SNRI’s and TCA’s are all preferable to
 benzodiazepines used as monotherapy.

 Patient S.A.
 Dr. Weiss prescribed patient S.A. alprazolam at high doses, most often Xanax 8mg per day,
 for an extended period of time, from 3/11/2015 to 8/15/2018. This chronic prescribing of
 high doses of alprazolam certainly increases the misuse liability. On 5/11/2015, the patient
 filled #120 alprazolam 2mg tablets, corresponding to a 30-day supply of medication. The
 very next day, on 5/12/2015, she filled #30 diazepam 5mg tablets. Considering that the
 patient was already on a high dose of Xanax, this addition of a second benzodiazepine is
 worrisome, from the standpoint of cumulative CNS depression. The PDMP is provider-
 specific, so it does not reveal if patient S.A. was also receiving controlled substance
 medications from other providers during the same time interval. This pattern of prescribing
 multiple sedatives, including high-dose Xanax, within a reasonable medical probability, is
 outside of the usual course of professional practice and without a legitimate medical
 purpose.



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 Patient T.B.
 This is a patient to whom Dr. Weiss prescribed chronic, high-dose Xanax. The
 prescription issuances on this PDMP cover the period 11/13/2014 to 7/19/2018. This
 included multiple issuances of prescriptions for #150 Xanax 2mg tablets, allowing for
 Xanax 10mg/day. This long-term use of high-dose Xanax, within a reasonable medical
 probability, is outside of the usual course of professional practice and without a legitimate
 medical purpose.

 Patient J.C-L.
 Dr. Weiss prescribed a very high dose of Xanax to this patient. On 3/21/2015, Dr. Weiss
 issued a prescription for #180 Xanax 2mg, corresponding to a 30-day supply of
 medication. This would allow for Xanax 12mg/daily. This is a very high dose range of
 Xanax; it is difficult to justify medically and places the patient at high risk of sedative
 toxicity. Dr. Weiss also provided this patient with other authorizations, allowing for
 Xanax 10mg/day and Xanax 6mg/day. This pattern of high-dose sedative prescribing,
 within a reasonable medical probability, is outside the usual course of professional
 practice and without a legitimate medical purpose.

 Patient N.D.
 This case is another egregious example of Dr. Weiss’ willingness to prescribe multiple,
 concurrent, high-dose GABA agonists to a patient. Dr. Weiss prescribed these agents to
 patient N.D. over a period of years, with the actual data likely limited by the time
 restrictions on the PDMP. He began prescribing a combination of Xanax 4mg/day,
 clonazepam 1.5mg/day and zolpidem 10mg/day to this female patient, in March 2015.
 Here I will again reference the FDA advisory regarding the prescribing of Ambien to
 female patients. By 4/19/2016, Dr. Weiss has escalated this unusual concoction of high-
 dose sedatives to a combination of Valium 60mg/day, lorazepam 6mg/day, alprazolam
 3.5mg/day and Ambien 10mg po qhs. This combination of sedative and hypnotic
 medications is reckless and puts the patient at considerable risk of CNS depression,
 respiratory suppression and death. Based upon this combination of sedating medications
 and dosages achieved, I can comfortably state that no medical condition warrants this
 particular regimen. This pattern of combined sedative and hypnotic prescribing, within a
 reasonable medical probability, is outside the usual course of professional practice and
 without a legitimate medical purpose.

 Patient St.Le.
 In this case, Dr. Weiss again demonstrates his willingness to prescribe multiple sedatives
 simultaneously, and at high doses. On 9/11/2017, Dr. Weiss prescribed patient St.Le. a
 combination of Xanax 8mg/day and flurazepam 30mg/day. At other times, Dr. Weiss
 prescribed patient St.Le. Valium 60mg/day. A very ill-advised practice seen here is Dr.
 Weiss’s writing of high-dosage units to cover longer periods of time. At times, he writes
 for #360 diazepam 10mg tablets and for #360 alprazolam 2mg tablets. Here I will
 observe that diazepam and alprazolam are among the most frequently requested
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 benzodiazepine medications by those seeking sedatives for non-medical use; each of
 these drugs carries a definite street value. If these drugs were being diverted, then these
 high dosage units amplify the societal impact of that activity. A reasonable psychiatrist
 would have not prescribed these medications at these doses and in these combinations; a
 reasonable psychiatrist would not have authorized high dosage units of these medications.
 This pattern of combined sedative prescribing and issuance of high dosage units of
 sedative medications, within a reasonable medical probability, is outside the usual course
 of professional practice and without a legitimate medical purpose.

 Patient Sh.Li.
 In this case, Dr. Weiss re-demonstrates his willingness to prescribe high-dose stimulant,
 high-dose benzodiazepine and a hypnotic in combination. Here, he prescribes a female
 patient a combination of Adderall 60mg/day, zolpidem ER 12.5mg/day and Valium
 40mg/day. In 2013, the FDA released an updated safety advisory for Ambien and Ambien
 CR:

        The recommended initial dose of certain immediate-release zolpidem products
        (Ambien and Edluar) is 5 mg for women and either 5 mg or 10 mg for men. The
        recommended initial dose of zolpidem extended-release (Ambien CR) is 6.25 mg
        for women and either 6.25 or 12.5 mg for men. If the lower doses (5 mg for
        immediate-release, 6.25 mg for extended-release) are not effective, the dose can
        be increased to 10 mg for immediate-release products and 12.5 mg for zolpidem
        extended-release. However, use of the higher dose can increase the risk of next-
        day impairment of driving and other activities that require full alertness.

 By prescribing high-dose diazepam in conjunction with zolpidem, Dr. Weiss has
 undermined the very point of that advisory and placed the patient at risk of excessive
 CNS depression. This pattern of combining hypnotic and sedative medications – also in
 conjunction with a high-dose stimulant medication – is, within a reasonable medical
 probability, outside of the usual course of professional practice and without a legitimate
 medical purpose.

 Patient S.M.
 This is another alarming case of Dr. Weiss’ willingness to write for multiple sedatives
 concurrently. Here, he writes a female patient a combination of Xanax 4mg/day,
 Ambien 10mg/day and clonazepam 8mg/day. This combination of two
 benzodiazepines and one hypnotic medication place the patient at considerable risk of
 sedative toxicity, the symptoms of which are described at the beginning of this report.
 This pattern of prescribing multiple sedative and hypnotic medications, within a
 reasonable medical probability, is outside of the usual course of professional practice and
 without a legitimate medical purpose.



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 Patient H.M.
 This is another case, demonstrating Dr. Weiss’ common practice of prescribing a DEA
 Schedule II stimulant in conjunction with one or more DEA Schedule IV sedatives. Here,
 he prescribes a patient the combination of Adderall 40mg/day, clonazepam 8mg/day
 and Xanax 4mg/day. This pattern of prescribing multiple sedative mediations – and in
 conjunction with a stimulant medication – is, within a reasonable medical probability,
 outside of the usual course of professional practice and without a legitimate medical
 purpose.

 Patient Mi.Po.
 This is yet another case of Dr. Weiss prescribing an unusual combination of a stimulant
 medication and multiple sedative and/or hypnotic medications, concurrently. As an
 example of this, Dr. Weiss issues prescriptions on 3/03/3015 for Adderall 40mg/day,
 Valium 15mg/day, zaleplon 10mg/day, Ambien 10mg/day. The prescribing of these
 medications in combination appears to fall outside of the usual course of professional
 practice. The co-prescribing of Valium, zaleplon (a DEA Schedule IV hypnotic) and
 Ambien is ill-advised and places the patient at unreasonable risk of sedative toxicity. One
 may also rightly question if the inclusion of the stimulant in the regimen is causing or
 contributing to insomnia or to anxiety. At other times, Dr. Weiss writes the patient for a
 combination of Lunesta, Valium, and zaleplon. By 6/22/2016, Dr. Weiss has advanced
 this strange regimen to Ambien 10mg/day, Valium 20mg/day, zaleplon 10mg/day and
 Adderall 60mg/day. This pattern of prescribing multiple sedatives and hypnotics to a
 patient – and in conjunction with a high-dose stimulant medication – is, within a
 reasonable medical probability, outside of the usual course of professional practice and
 without a legitimate medical purpose.

 Patient Co.Ro.
 In this case, Dr. Weiss wrote this patient a high-dose of Xanax repeatedly, on a long-term
 basis. The prescribed Xanax dose was often 10mg/day. There are suggestions of early
 refills of Xanax at multiple points, including on 5/29/2017, 6/20/2017, 9/08/2017,
 10/25/2017, 11/06/2017, 11/22/2017 and 8/09/2019. This pattern of prescribing high-
 dose, long term sedatives – and providing early refills of sedatives – is, within a
 reasonable medical probability, outside of the usual course of professional practice and
 without a legitimate medical purpose.

 Patient Jo.Sc.
 In this case, Dr. Weiss prescribes two benzodiazepines, alprazolam and temazepam, to
 patient Jo.Sc. repeatedly. The prescribed Xanax dose was generally 10mg/day, and the
 prescribed temazepam dose was generally 30mg/day. In this case, there appear to be
 multiple instances of early refills of Xanax, on fill dates 6/16/2015, 6/29/2015,
 12/23/2015, and 10/20/2017. On 10/2/2016, Dr. Weiss wrote for hydrocodone/APAP for
 this patient. As I have indicated earlier in this report, writing for narcotic analgesia is
 outside of the scope of practice for an outpatient Psychiatry clinic. This is particularly
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 concerning in this case, as Dr. Weiss was, at the same time that he issued the
 hydrocodone prescription, writing the patient for two benzodiazepine medications,
 including high-dose Xanax. There is a well-known synergistic effect when opioids and
 benzodiazepines are taken together, such that the CNS depression achieved in that
 manner is greater than what one would expect from the additive effects of each
 medication considered individually. This is the reason that the combination of
 benzodiazepines and prescription opioids are implicated in many overdose deaths. In this
 case, Dr. Weiss has willingly prescribed a narcotic analgesic to the same patient that he
 was already prescribing a combination of benzodiazepine medications. This pattern of
 prescribing multiple sedatives to a patient – and in conjunction with an opioid – places
 the patient at high risk of sedative toxicity; within a reasonable medical probability, it is
 outside of the usual course of professional practice and without a legitimate medical
 purpose.

 Patient Da.So.
 This case is also concerning because of Dr. Weiss’ issuances of multiple prescriptions for
 high dosage units of Xanax. In this case, he issues multiple prescriptions for #450 Xanax
 2mg tablets. In some cases, these prescriptions for #450 Xanax 2mg tablets correspond to
 a 56-day supply (as on 10/10/2016); in other cases, they correspond to a 90-day supply.
 At the uppermost limit of this prescribing, that corresponds to 16mg of Xanax daily;
 at the lower limit, it corresponds to 10mg of Xanax daily. These are exceedingly high
 dose ranges and they are ranges which put the patient at risk for benzodiazepine toxicity.
 No reasonable psychiatrist would prescribe Xanax at these doses and no reasonable
 psychiatrist would issue a prescription for #450 dosage units of Xanax. I believe that it is
 reasonable to suspect substance abuse and/or diversion in this case. Dr. Weiss’
 prescribing of Xanax in this manner, within a reasonable medical probability, is outside
 of the usual course of professional practice and is without a legitimate medical purpose.

 Patient S.VD.
 This case is very concerning in that Dr. Weiss prescribes to a female patient a
 combination of a high-dose benzodiazepine, in combination with a high-dose hypnotic.
 Dr. Weiss repeatedly writes for this patient Ativan 8mg/day, in addition to Lunesta
 9mg/day. This combination of medications at these doses placed the patient at significant
 risk of cumulative CNS depression and sedative toxicity. The FDA label for Lunesta
 specifies the recommending starting dose of the medication as 1mg nightly; it specifies
 the maximum dose of Lunesta as 3mg nightly. Dr. Weiss has plainly exceeded that and
 compounded the patient’s risk by co-prescribing Lunesta with high-dose Ativan. This
 manner of prescribing high-dose lorazepam concurrently with an excessive dose of
 Lunesta, within a reasonable medical probability, is outside of the usual course of
 professional practice and is without a legitimate medical purpose.




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 Patient Be.Wa.
 This is yet another case in which Dr. Weiss provides a female patient with multiple
 sedative and/or hypnotic drugs in combination. Here, he provides the patient with
 simultaneous prescriptions for Xanax 3mg/day, zaleplon 10mg/day and Ambien
 10mg/day. In other sections of this report, I have discussed not only the hazards in
 stacking sedative and hypnotic drugs this way, but also the FDA advisory on Ambien.
 This manner of prescribing multiple sedative and hypnotics in combination, within a
 reasonable medical probability, is outside of the usual course of professional practice and
 is without a legitimate medical purpose.

 MISCELLANEOUS PRESCRIBING CONCERNS

 The following patient entries on the provider PDMP generated concern for
 appropriateness of prescribing, based upon the particular medications used, the particular
 combination of medications prescribed and/or the dosages of medications achieved. An
 opinion about whether these prescribing instances were within the usual course of
 professional practice or with a legitimate medical purpose may be arrived at by a review
 of the individual patient charts.

 Patient M.L.
 This is another case in which Dr. Weiss found it appropriate to prescribe a patient a high-
 dose stimulant and a high-dose sedative, concurrently. He provided recurrent
 prescriptions for #120 Adderall 10mg tablets, either with a prescription for clonazepam
 8mg/day or for alprazolam 8mg/day. Here, Dr. Weiss elects to prescribe a smaller tablet
 size of Adderall, with high monthly dosage units.

 Patient D.A.
 On 9/16/2016, patient D.A. filled #90 Adderall 20mg tablets on Dr. Weiss’ authorization,
 corresponding to a 30-day supply of medication. This places the patient dose of immediate-
 release Adderall at 60mg per day, clearly in excess of the 40mg per day that are not usually
 required, according to multiple sources (Micromedex, CMS, PDR and Dr. Stahl).

 Patient Ja.Aj.
 In this case, Dr. Weiss authorized multiple fills of #60 Adderall 30mg tablets for the patient,
 each corresponding to a 30-day supply. This places the patient dose of immediate-release
 Adderall at 60mg per day, clearly in excess of the 40mg per day that are not usually required,
 according to multiple sources (Micromedex, CMS, PDR and Dr. Stahl).

 Patient W.A. and Patient J.A.
 These two patient cases also illustrate Dr. Weiss’ tendency to prescribe Adderall and a
 benzodiazepine in combination, as well as his tendency to prescribe high-dose Adderall.
 Each of these patients was prescribed Adderall at 60mg po daily.


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 Patient R.A.
 This case illustrates Dr. Weiss’ willingness to prescribe high-dose benzodiazepines,
 involving high dosage units, over a long period of time. At one point, Dr. Weiss prescribed
 patient R.A. #120 lorazepam 2mg tablets, corresponding to dosing at 8mg per day. He
 prescribed lorazepam to patient R.A., from 8/15/2014 to 5/27/2018, according to this PDMP
 report. These high dosage units only facilitate and compound drug diversion, wherever that
 might be occurring.

 Patient K.B.
 In the case of patient K.B., Dr. Weiss prescribed the patient the analgesic tramadol, in
 addition to clonazepam. In my opinion, prescribing tramadol or narcotic analgesia falls
 outside of the scope of practice for a Psychiatry clinic.

 Patient C.B.
 In the case of patient C.B. Dr. Weiss prescribes recurrent prescriptions for #90 alprazolam
 2mg tablets, corresponding to Xanax 6mg po daily. He also prescribes to her the muscle
 relaxant carisoprodol at intervals, between 3/25/2017 and 8/25/2018. Prescribing muscle
 relaxants is not a common practice in outpatient Psychiatry; in this case, a reasonable
 provider would likely not have prescribed carisoprodol in addition to Xanax 6mg po daily,
 based upon a concern for cumulative sedation.

 Patient T.B-O.
 This case illustrates another trend of Dr. Weiss: the co-prescribing of a hypnotic medication
 and a benzodiazepine. In this case, Dr. Weiss prescribed a female patient Ambien 10mg po
 nightly, in addition to clonazepam 1mg po tid. In 2013, the FDA released an updated safety
 advisory for Ambien and Ambien CR:

        The recommended initial dose of certain immediate-release zolpidem products
        (Ambien and Edluar) is 5 mg for women and either 5 mg or 10 mg for men. The
        recommended initial dose of zolpidem extended-release (Ambien CR) is 6.25 mg
        for women and either 6.25 or 12.5 mg for men. If the lower doses (5 mg for
        immediate-release, 6.25 mg for extended-release) are not effective, the dose can
        be increased to 10 mg for immediate-release products and 12.5 mg for zolpidem
        extended-release. However, use of the higher dose can increase the risk of next-
        day impairment of driving and other activities that require full alertness.

 The initial prescription entry for this patient on Dr. Weiss’ provider PDMP is for Ambien
 10mg nightly. Without reviewing the chart, it is impossible to determine whether the
 patient was previously taking Ambien 5mg nightly from another provider. In any case, it
 is ill-advised to have a patient taking clonazepam 1mg po three times daily, in
 conjunction with Ambien. Clonazepam is a sedating benzodiazepine that has a long half-
 life.


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 Patient R.B.
 This is another case which demonstrates Dr. Weiss’ tendency to prescribe a
 benzodiazepine medication and Adderall (in doses up to 60mg daily), and on a chronic
 basis.

 Patient W.B.
 This is another case which demonstrates Dr. Weiss’ tendency to prescribe a Xanax and
 Adderall on a chronic basis.

 Patient Ja.Be.
 This is another case where Dr. Weiss prescribes a patient high-dose Xanax (8mg/day), in
 addition to Adderall.

 Patient Je.Be.
 This case is unusual, in that it involves the off-label prescription of ketamine powder to
 a patient. Each of two ketamine powder prescriptions was issued to this patient in January
 2018. The use of ketamine in Psychiatry has been very controversial. While there are a
 small number of providers – often non-Psychiatrists – who have provided IV infusions of
 ketamine to patients for mood disturbances, the FDA has not approved a non-anesthetic
 use of IV ketamine. Most providers would agree that use of IV ketamine is in fact
 controversial, and that any administration of IV ketamine must involve careful, in-office
 monitoring of the patient, to include pulse oximetry and vital sign monitoring. In March
 2019, the FDA approved use of intranasal Spravato (esketamine), for treatment-resistant
 depression; however, even the use of Spravato requires in-office monitoring. It would be
 interesting to know Dr. Weiss’ intended indication for the ketamine powder, which again,
 is not FDA-approved for treating any psychiatric condition. If Dr. Weiss intended it to be
 used for treatment-resistant depression, then it is a curious matter that he would later
 prescribe the CNS depressant clonazepam to the same patient.

 Patient Ch.Bl.
 In this case, Dr. Weiss has prescribed a combination of the stimulant Vyvanse at
 70mg/day and the benzodiazepine clonazepam at 4mg/day to a patient for greater than a
 2-year period, from 1/28/2015 to 2/08/2017.

 Patients Co.Bl. and Ja.Bl. and L-G.Bl.
 These are three patients with the same last name, to whom Dr. Weiss prescribed Adderall
 60mg/day.

 Patient Ma.Br.
 This is a case of a female patient to whom Dr. Weiss prescribed a combination of
 Adderall XR 40mg/day, Xanax and flurazepam.



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 Patient Ra.Br.
 This case again demonstrates Dr. Weiss’ tendency to prescribe high dose Adderall. In this
 case, he repeatedly authorizes immediate-release Adderall at 60mg/day.

 Patient Ro.Br.
 In this case, Dr. Weiss again prescribes to the patient a combination of a benzodiazepine
 (Valium) and a hypnotic (Lunesta).

 Patient S.C.
 Dr. Weiss prescribed to this patient the strange but recurring combination of Adderall,
 Adderall XR and Xanax.

 Patients M.D. and T.D.
 In each of these patient cases, Dr. Weiss prescribed immediate-release Adderall at
 60mg/day. He simultaneously prescribed to patient T.D. diazepam 20mg/day.

 Patient S.J.
 In this case, Dr. Weiss prescribed high-dose alprazolam (typically 6mg/day) in
 conjunction with zolpidem 10mg nightly, on a long-term basis to a patient. In this series, I
 have previously discussed the hazards of prescribing multiple GABA agonists
 concurrently; I have also discussed the FDA advisory concerning the prescribing of
 zolpidem to female patients.

 Patient B.L.
 This case is another reminder that, when Dr. Weiss prescribes a stimulant other than
 Adderall, he also prefers a high dose of medication. Here, he prescribes patient B.L. a
 combination of methylphenidate 60mg/day and Xanax 6mg/day.

 Patient C.M.
 This is another case demonstrating Dr. Weiss’ preferred medication combination,
 Adderall and Xanax. Here he provides the patient with repeated prescriptions for
 Adderall ER 60mg/day and Xanax 4mg/day. On two occasions, 1/19/2015 and
 3/19/2015, Dr. Weiss issues single prescriptions for #180 Adderall ER 20mg tablets, to
 cover a 60-day supply. As indicated in an earlier section of this report, a reasonable
 psychiatrist would avoid the unnecessary writing of high-dosage units of a DEA Schedule
 II stimulant, to limit the opportunities for drug abuse and drug diversion.

 Patient P.S.
 In this case, Dr. Weiss repeatedly and unnecessarily writes for high dosage units of
 clonazepam. In some cases, he writes for #300 clonazepam 0.5mg tablets to cover a 75-
 day supply; in other cases, he writes for #270 clonazepam 0.5mg tablets to cover a 90-
 day supply. I previously covered some aspects of the pharmacology of clonazepam and
 that availability of larger clonazepam tablet sizes in my discussion of patient D.A. These

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 factors mean that dispensing a high number of low-dose clonazepam tablets accomplishes
 nothing more than increasing the risk and impact of diversion.

 Patient C.W.
 This case is interesting in that the PDMP reveals that prescription issuances for high-dose
 sedative medications were entered on a single date. Without reviewing the corresponding
 medical chart, it’s impossible to tell if these prescription issuances were related to a
 single office visit. Here, Dr. Weiss authorizes #120 Xanax 2mg tablets and #3
 clonazepam 2mg tablets (corresponding to one day of medication) on 2/24/2017. This
 may be an artifact of the date limits for this particular PDMP report, or it could represent
 the absence of any reasonable sedative titration.

 Patient K.W.
 This is a case of a patient (assumed to be female by name) to whom Dr. Weiss prescribed
 a combination of Adderall XR 60mg/day, zolpidem 10mg po qhs and Xanax 4mg/day.
 The date limits of the current PDMP are unknown. If the PDMP reflects the entirety of
 Dr. Weiss’ prescribing to patient K.W., then it would appear that he started her on a
 sedative combination of Xanax 4mg/day and zolpidem 10mg po qhs, showing complete
 disregard for the FDA advisory on zolpidem and for the risk of cumulative CNS
 depression. In any case, Dr. Weiss demonstrates his willingness to prescribe sedatives and
 hypnotics together, and in conjunction with high-dose stimulant medication.

 Patient H.Z.
 In addition to prescribing patient H.Z. clonazepam, lorazepam, diazepam and temazepam
 at different points in time, Dr. Weiss also prescribes tramadol on 3/31/2017. This again
 illustrates Dr. Weiss’ decision to prescribe pain medications that wouldn’t ordinarily fall
 under the scope of outpatient psychiatric practice.

 THE OHIO PATIENT

 I was also provided the PDMP for a single patient in Ohio, a patient G.K. The fill date
 range on this report is from 7/07/2014 to 8/22/2018. The report opens with fills of #150
 alprazolam 2mg tablets, per Dr. Weiss, on 7/07/2014. This fill of alprazolam
 corresponds to a 30-day supply of the medication; this reveals that the prescription
 allowed for Xanax 10mg/day. There appears to be a pause in Dr. Weiss’ prescribing
 following this, until May of 2017; however, during that interval, patient G.K. received
 Xanax prescriptions and Adderall prescriptions from other providers. He also received a
 prescription of Suboxone from a Dr. Radha Baishnab on 8/13/2014, suggesting that
 patient G.K. was being treated for opioid dependence. In April 2017, patient G.K. also
 received prescriptions of Suboxone from a Dr. Mohan Kareti. In May 2017, Dr. Weiss
 prescribed to patient G.K. a combination of Xanax 10mg/day and Adderall 90mg/day.
 From May 2017 8/22/2018, Dr. Weiss provided to patient G.K. regular, recurring
 prescriptions of both Xanax and Adderall at these dosages. Patient G.K. also
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 continued to receive recurring prescriptions of buprenorphine/naloxone from various
 providers.

 This particular case is critical to the current review because, for all of the other patients
 considered in this report, their substance abuse histories and individual PDMP’s are not
 provided. Without looking at the individual patient charts, it is not possible to tell if Dr.
 Weiss used or responded to concerning PDMP data or if he solicited or properly
 responded to known addiction. Buprenorphine and all buprenorphine-containing products
 are DEA Schedule III controlled substances. The combination of buprenorphine/naloxone
 is commonly used an opioid replacement strategy in the treatment of opioid addiction.
 The same hazard of synergistic CNS depression described earlier in this report during the
 discussion of opioid and sedative combinations also applies to the combination of
 buprenorphine and sedatives. The fact that Dr. Weiss prescribed high-dose Xanax to an
 individual receiving buprenorphine placed that individual at an unreasonable risk of CNS
 depression. It may be possible that Dr. Weiss did not have access to this Ohio PDMP
 data, as state boards of pharmacy often restrict access to their PDMP’s to physicians who
 are licensed in their state. There is no indication that Dr. Weiss holds or has held an
 Ohio medical license. If Dr. Weiss has not held an Ohio medical license, then his actions
 in prescribing controlled substances to an Ohio resident, to be filled in Ohio might be
 construed as a violation of the Ohio Medical Practice Act. The Ohio Automated Rx
 Reporting System (OARxRS) report for patient G.K. lists all of the providers referenced
 in the PDMP at the end of the report, along with their practice address. While most of the
 providers on the report have Ohio addresses, Dr. Weiss’ practice address is shown as
 6900 E. Belleview Ave., Suite 2015 in Greenwood Village, CO. The DEA number
 attached to this prescribing, per this report, is AW1626300.

 Ohio uses the NarxCare scoring system provided by Appriss Health. This system attaches
 risk scores (a narcotic, a sedative and a stimulant risk score) to patient PDMP’s, so that
 providers can quickly gauge overall controlled substance utilization and the risk of death
 by unintentional overdose. Several measurements go into these scores, including number
 of prescribers, number of pharmacies, milligram equivalents and overlapping
 prescriptions. The overdose risk score of the report ranges from 000 to 999. Patient
 G.K.’s overdose risk score (ORS) is reported as 860. According to the NarxCare
 guidance, a score range of 801 to 900 corresponds to an odds ratio for unintentional
 overdose death of 194 (ORS of <200 as the referent scoring group). Dr. Weiss’
 prescribing of high-dose Adderall, his prescribing of high-dose Xanax and high-dose
 Adderall in combination, and his prescribing of high-dose Xanax to a potential addict
 receiving buprenorphine, within a reasonable medical probability, is outside of the usual
 course of professional practice and is without a legitimate medical purpose.




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 CONCLUDING REMARKS

 The practitioner PDMP on Dr. Weiss provided for my review contained numerous
 controlled substance entries for a large volume of patients. In this report, I did not include
 every case in which Dr. Weiss wrote for an unusually high stimulant dose or every case in
 which he wrote for an unusually high sedative dose or every case in which he wrote for a
 combination of high-dose stimulant and high-dose sedative or every case in which he
 wrote for multiple sedative and/or hypnotic drugs in combination. Clearly, all of these
 patterns of unusual prescribing on the part of Dr. Weiss exist, and each pattern poses not
 only a risk to the individual patient (i.e., the hazards of stimulant and/or sedative toxicity)
 but also a societal risk, as I believe that misuse and diversion of these controlled
 substances a very real possibility in a number of these cases. The societal risk was far
 more pronounced on the occasions when Dr. Weiss prescribed high dosage units of
 stimulants or sedatives. These patterns of prescribing in the identified cases appear to
 deviate from the usual course of professional practice in Psychiatry, and as a matter of
 general practice.

 My opinions are preliminary and based upon examination of the provider PDMP;
 however, for most of the cases discussed in this report, a final opinion about whether the
 prescribing was for a legitimate medical purpose can be rendered following a review of
 the corresponding medical charts. There were several cases in this series in which the
 magnitude of the controlled substance prescribing alone allowed me to safely say that no
 legitimate medical purpose existed. Examples of this include Dr. Weiss’ co-prescribing of
 Ativan 8mg/day and Lunesta 9mg/day to patient S.VD., or his prescribing of 150mg of
 combined mixed amphetamine salts plus Xanax 8mg/day to patient P.V.

 The most common mis-prescribing pattern seen on Dr. Weiss’ practitioner PDMP was the
 concurrent prescribing of high-dose stimulants and high-dose sedatives, particularly the
 combination of Adderall and Xanax. It is interesting that Dr. Weiss’s preferred controlled
 substance combination, Adderall plus Xanax, would feature the most commonly
 requested stimulant for non-medical use (i.e., in cases of suspected drug seeking) and the
 most commonly requested benzodiazepine for non-medical use. Data obtained from the
 SAMHSA (Drug Abuse Warning Network, 2011: National Estimates of Drug-Related
 Emergency Department Visits) revealed that Xanax was implicated in 9.9% of ED visits
 involving the non-medical use of pharmaceuticals; in this, it outranked the other
 monitored benzodiazepines, which included clonazepam, diazepam and lorazepam.
 Considering all of the individual pharmaceuticals – a range of sedative drugs, stimulants
 and analgesics – monitored in this data collection, Xanax was only outranked by
 oxycodone, which was implicated in 12.1% of ED visits involving non-medical use of
 pharmaceuticals. Mixed amphetamine salts (Adderall) topped caffeine and
 methylphenidate and were implicated in 1.4% of ED visits involving the non-medical use
 of pharmaceuticals. These findings are mirrored in outpatient clinical experience, where
 we find that patients requesting stimulants for non-medical use (i.e., drug seeking)

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 frequently request Adderall and patient requesting sedatives for non-medical use
 frequently request Xanax.

 The increased abuse potential of Xanax compared to other benzodiazepines has been
 attributed to several factors. These include its pharmacokinetic properties: rapid
 absorption, low lipophilicity and short half-life. The pharmacodynamic properties of high
 potency and more severe withdrawal after a shorter period of use also contribute to its
 misuse potential. Xanax also appears to impact the reward system much more strongly
 than other sedatives, as it causes a striatal dopamine release that is similar to that caused
 by stimulant drugs. One study in animal models found that alprazolam caused a
 significant increase in extracellular dopamine concentrations in the striatum, an effect
 which could not be replicated with lorazepam.

 It is important to keep in mind several things when reading this report and weighing the
 use of stimulants and sedative medications. The first is that not every matter of
 inattention is due to the syndrome of ADHD. Any evaluation for ADHD must involve
 screening for other psychiatric problems which can cause or contribute to inattention. It is
 also preferable to treat those other conditions before coming to the diagnosis of “ADHD”
 in an adult. Not every case of ADHD requires medication treatment, and use of excessive
 doses of stimulant mediations is ill-advised. In treating cases of adult ADHD with a
 stimulant medication, titrating a medication to or beyond the recommended maximum
 dose is not the treatment goal. Critical dosing values which should alert the reader to
 potential misprescribing include Adderall > 40mg/day, Adderall XR > 30mg/day,
 methylphenidate IR > 60mg/day, methylphenidate ER > 72mg/day and Vyvanse >
 70mg/day. See APPENDIX A for prescribing guidelines for select medications. It should
 also be uncommon to see sedative prescribing at > Xanax 4mg/day (or a dose equivalent
 of another benzodiazepine) for most anxiety states. Errant prescribing can also come by
 way of medication combinations, to include the pairing of two stimulant medications
 (e.g., Adderall plus Adderall XR) to achieve and unreasonably high cumulative stimulant
 dose or the pairing of high-dose stimulant and sedative (e.g., Adderall plus Xanax), such
 that the treatment is complicated by the opposing pharmacologic effects of these
 medications that was discussed earlier in this report.

 It’s also important for the reader to remember that not every case of anxiety represents
 “panic disorder” and that SSRI’s and SNRI’s remain the first-line treatment for most
 anxiety disorders. Evidence also supports psychosocial interventions (most commonly
 CBT), for anxiety disorders. Even when benzodiazepine medications are used, they do
 not generally require high dosing or use for long periods of time. Certainly, before one
 considers putting a patient on Xanax, they should first scrutinize the presence of any
 stimulant medication in the regimen. Dr. Weiss seemed to never identify a problem in co-
 prescribing high-dose Xanax (frequently greater than or equal to 8mg/day) and high-dose
 Adderall (frequently higher than 60mg/day), as if Adderall had no way of impacting the
 patient’s anxiety level and the Xanax had no way of impacting the patient’s cognitive

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 function. Based upon my review of the PDMP provided to me, when it comes to the
 prescribing of sedatives and/or stimulant medications, Dr. Weiss more often than not
 operated outside of the usual course of professional practice. There are numerous cases in
 this series where his prescribing of controlled substances to patients was unsafe and
 placed the patient at considerable risk.***”
                                        APPENDIX A

        Prescribing Recommendations for Select Medications (indication in
                                parentheses)
    MEDICATION            Micromedex                Stahl                 CMS                   PDR
 Adderall (ADHD)      Initial dosage:       Initial 5mg once    Initial dose: 5mg       Initially 5mg po
                      5mg orally once or    or twice per day;   once or twice a day.    once daily or
                      twice daily.          can increase by     Maximum dose:           twice daily.
                      Titration: increase   5mg each week.      40mg per day. May       Titrate by no
                      in 5mg increments     Maximum dose        increase daily dose     more than
                      at weekly intervals   generally 40mg      by 5mg at weekly        5mg/day at
                      until optimal         per day.            intervals until         weekly intervals
                      response; doses                           optimal response is     to the minimum
                      greater than                              achieved. Only in       effective dose.
                      40mg/d are rarely                         rare cases will it be
                      needed                                    necessary to exceed
                                                                a total of 40mg per
                                                                day.
 Adderall XR (ADHD)   Usual dosage is       Initial 10mg po     Recommended             During adult
                      20mg po qam.          qam. Can            dose: 20mg once a       ADHD trials,
                                            increase by 5-      day.                    there was not
                                            10mg/day at                                 adequate
                                            weekly intervals.                           evidence that
                                            Maximum dose                                doses greater
                                            generally                                   than 20mg/day
                                            30mg/day.                                   ER capsules
                                                                                        conferred
                                                                                        additional
                                                                                        benefit
 Methylphenidate IR   10 to 60mg/day                            Average dose 20mg       Average
 (ADHD)               orally divided 2 to                       to 30mg per day.        effective dose
                      3 times daily                             Maximum dose            range for adults
                                                                60mg per day.           is 20 to 30mg
                                                                                        per day. Dose
                                                                                        may be
                                                                                        increased to 5 to
                                                                                        10mg/day at
                                                                                        weekly intervals.
                                                                                        Some patients
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                                                                           may require
                                                                           dosing up to
                                                                           three times
                                                                           daily. Maximum
                                                                           is 60mg/day per
                                                                           FDA-approved
                                                                           labeling.
 Methylphenidate ER                                 Initial dose 18mg or   In adults up to
 (Concerta, ADHD)                                   36mg once a day.       age 65 years,
                                                    Maximum dose           initially 18 to
                                                    72mg once a day.       36mg po qam.
                                                    The FDA labelling      Dose may be
                                                    specifies that the     increased by
                                                    maximum dosage of      18mg
                                                    methylphenidate ER     increments at
                                                    should not exceed      weekly intervals.
                                                    72mg in adults and     Max 72mg/day.
                                                    adolescents.
 Vyvanse (ADHD)         Initial dosage:             Initial dose 30mg po   Initially 30mg po
                        30mg po once                daily. Maximum         qam. If
                        daily in the                dose 70mg po daily.    necessary adjust
                        morning. May                FDA labelling also     upwards by 10
                        increase dosage in          specifies a maximum    to 20mg at
                        increments of               dose of 70mg/day.      weekly intervals.
                        10mg or 20mg per                                   Do not exceed
                        day at                                             70mg/day.
                        approximately
                        weekly intervals to
                        optimal response.
                        MAX 70mg/day.
 Alprazolam (anxiety)   Initial dosage: 0.25        Per the FDA            In non-geriatric
                        to 0.5mg orally             labelling, the         adults, initially
                        three times a day;          maximum dosage is      0.25mg to 0.5mg
                        may increase                4mg/day, in divided    po tid. If
                        every 3 to 4 days if        doses.                 clinically
                        necessary. MAX                                     indicated, adjust
                        daily dose 4mg in                                  upwards at
                        divided doses                                      intervals of 3 to
                                                                           4 days, up to a
                                                                           maximum of
                                                                           4mg/day in
                                                                           divided doses.

                                                                           In geriatric
                                                                           adults, start
                                                                           0.25mg po two
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                                                                                          or three times
                                                                                          daily. Maximum
                                                                                          dosage is
                                                                                          4mg/day in
                                                                                          divided doses.
 Alprazolam (panic       0.5mg orally three                                               In non-geriatric
 disorder)               times a day; may                                                 adults, initially
                         increase dosage by                                               0.5mg po tid.
                         up to 1mg/day                                                    The dose may be
                         every 3 to 4 days.                                               gradually
                         Usual dosage                                                     increased by no
                         range 1 to                                                       more than
                         10mg/day (mean 5                                                 1mg/day at
                         to 6mg/day)                                                      intervals of 3 to
                                                                                          4 days. Mean
                                                                                          dose of 5 to
                                                                                          6mg/day and
                                                                                          maximum of
                                                                                          10mg/day in
                                                                                          divided doses.




 Additional Information Regarding the Select Patient Cases

        37.       Your affiant read Dr. Walter’s initial review of the provider PDMP for Dr.

              Howard Weiss, with substantive parts of the report inserted above verbatim, and the

              same PDMP records reviewed and analyzed by Dr. Walter. Your affiant was able to

              identify the patients of the select patient cases only referred to by initials in Dr.

              Walter’s report. For those select patient cases in the Section titled UNUSUAL

              PRESCRIBING PATTERN #1: The Use of Methamphetamine in Adult Patients, your

              affiant then conducted DMV, criminal history, and sometimes open source database

              checks on the patients.




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       38.       For those select patients in the Section titled UNUSUAL PRESCRIBING

             PATTERN #1: The Use of Methamphetamine in Adult Patients, your affiant learned

             the following:

       39.      Patient B.E. is identified as Brandee Eighmy. Patient Eighmy’s criminal history

             includes prior arrests and convictions in Colorado for Dangerous Drugs, Possession of

             Dangerous Drugs, Possession of Drug Paraphernalia, Traffic Offenses, Trespassing,

             Burglary, FTAs, and Flight Escape. Dr. Weiss’ PDMP reports Patient Eighmy filled

             prescriptions in June and July 2018 written by Dr. Weiss for Alprazolam 2mg tablets,

             and filled prescriptions in July and August 2018 written by Dr. Weiss for

             Methamphetamine 5mg tablets. In September 2018, Patient Eighmy was

             arrested/charged in Jefferson County and Denver District Court with Robbery,

             Assault, Vehicle Theft, Weapons Offense, Theft, and Public Order Crimes; convicted

             of Assault, Motor Vehicle Theft Tag, and Robbery; and sentenced to 6 months in jail,

             30 months in the custody of the Department of Corrections, and 42 months in the

             custody of the Department of Corrections, respectively.

       40.      Patient Jo.Fa. is identified as Jon Faulkner. Patient Faulkner’s criminal history

             includes prior arrests and convictions for Dangerous Drugs/Possession of

             Methamphetamine and Driving Under the Influence (2012); Dangerous

             Drugs/Possession of a Controlled Substance (2013); Criminal Possession of ID

             Documents-Multiple Victims and Possession of a Controlled Substance (2013);

             Dangerous Drugs/Possession of a Controlled Substance (2013); Possession of Drug

             Paraphernalia, Traffic Offense Registration-Fictitious Plate, and Making a False

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             Report (2014); and Forgery (2014). Dr. Weiss’ PDMP reports Patient Faulkner filled

             a prescription in November 2017 written by Dr. Weiss in October 2017 for

             Methamphetamine 5 mg tablets. In October 2017, Patient Faulkner was arrested for

             Traffic Offenses and Driving Under the Influence, however a disposition is not listed;

             and in January 2018, Patient Faulkner was arrested for Pandering-Arranging

             Prostitution and Harassment, but the charges were dismissed.

       41.      Patients Wa.Johnc. and Wa.Johna. are one and the same and identified as Wayne

             Johncock. Patient Johncock’s criminal history includes several arrests for drugs,

             theft, driving under the influence, disturbing the peace, damage property, and forgery

             in the 1980s and 1990s without dispositions; and arrests and convictions for

             Dangerous Drugs/Possession of a Controlled Substance (2000, 2001). Dr. Weiss’

             PDMP reports Patient Johncock filled prescriptions for Methamphetamine 5mg

             tablets and two benzodiazepine (Alprazolam and Flurazepam - sedatives) medications

             between February 2018 and August 2018. On October 28, 2018, Patient Johncock

             was found unresponsive in his closet at his home. Emergency medical services

             responded, but he could not be resuscitated and was pronounced dead on scene. The

             Coroner’s Report states Patient Johncock died of heroin intoxication, and that

             Atherosclerotic cardiovascular disease contributed to his death. Toxicology was

             positive for 6-acetylmorphine (a specific metabolite of heroin), morphine (metabolite

             of heroin; lethal level), codeine, and small amounts of alprazolam, diazepam, and

             nordiazepam. The manner of death was accident.



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       42.      Patient Sa.Pr. is identified as Samuel Proctor. Patient Proctor is the same patient

             referred to in paragraphs 21-23 above.

       43.      Patient Da.St. is identified as David Stewart. Patient Stewart’s criminal history

             includes several arrests and convictions for Dangerous Drugs (2001); Violation of a

             Restraining Order (2002); Theft (2002); Vehicular Eluding and Possession of

             Controlled Substance (2003); Flight Escapes and Fraud-Impersonation (2003);

             Trespassing (2008); Vehicular Eluding, Possession of Controlled Substance,

             Possession of a Weapon by a Previous Offender, ID Theft, and Sentence Enhancer-

             proven (2009), and suspended driver license for Driving Under the Influence.

       44.      Patient P.V. is identified as Patrick Vonnoy on the PDMP, but is further identified

             as Patrick Vannoy. Patient Vannoy’s criminal history includes arrests and convictions

             for Theft and Possession of a Controlled Substance (2012); and Theft, Possession of a

             Controlled Substance, and Driving without a Driver’s License (2013). Dr. Weiss’

             PDMP reports Patient Vannoy filled prescriptions for Methamphetamine 5mg tablets

             one time in August 2017, and then prescriptions for Alprazolam 2mg tablets,

             Dextroamp-amphetamin 30mg tablets, and Dextroamp-amphet ER 30 mg capsules

             between August 2017 and December 26, 2017. On January 16, 2018, Patient Vannoy

             was arrested and then convicted for Possession of a Controlled Substance and Driving

             Under the Influence.

       45.      For those select patient cases in the Section titled UNUSUAL PRESCRIBING

             PATTERN #2: High-dose Stimulant Medications with High-dose Sedatives your



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          affiant was able to identify the following patients identified in the report by initials, as

          follows:

          x   Patient C.A. is identified as Chanci Amos

          x   Patient K.A. is identified as Kathleen Apple

          x   Patient M.A. is identified as Michael Arrigo

          x   Patient D.A. is identified as Donna Avonda

          x   Patient R-T.B. is identified as Robert-Trey Barrett

          x   Patient E.B. is identified as Emily Barry. Patient Barry is the same patient

              referred to in paragraphs 15-17 above.

          x   Patient L.B. is identified as Lisa Benedict

          x   Patient Ry.Br. is identified as Ryan Brockley

          x   Patient P.C. is identified as Patty Christopher

          x   Patient An.Ci. is identified as Anthony Cicchini

          x   Patient Ja.De. is identified as Jared DeHaan. Patient DeHaan is the same patient

              referred to paragraphs 11-13 above.

          x   Patient G.E. is identified as Gretchen Ellsmore

          x   Patient Ja.Fi. is identified as James Finger

          x   Patient L.F. is identified as Lauren Fried

          x   Patient J.H. is identified as Jeremy Haley

          x   Patient S.H. is identified as Stephanie Hall

          x   Patient A.H. is identified as Amy Hilgendorf


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          x   Patient P.H. is identified as Peter Hoerl

          x   Patient E.H. is identified as Emily Hudson

          x   Patient B.K. is identified as Bethany Karulak

          x   Patient Ky.Ke. is identified as Kyle Kellum

          x   Patient P.K. is identified as Paul Kelly (deceased)

          x   Patient Ke.Ke. is identified as Kelley Keys

          x   Patient J.K. is identified as Jason Kinsey

          x   Patient S.K. is identified as Stacey Klinger (deceased)

          x   Patient M.K. is identified as Melissa Kroh

          x   Patient X.L-B. is identified as Xea Landers-Bergfeld

          x   Patient C.L. is identified as Cory Lowe

          x   Patient Tr.Ma. is identified as Travis Matthews

          x   Patient Th.Ma. is identified as Thomas Mayhew

          x   Patient D.M. is identified as David McKeever

          x   Patient A.M. is identified as Alonzo Montoya

          x   Patient P.M. is identified as Paul Montoya

          x   Patient W.P. is identified as Wendi Pelton

          x   Patient Th.Ri. is identified as Thomas Richter

          x   Patient Ch.Ri. is identified as Charlton Ridings

          x   Patient Je.Ra. is identified as Jennifer Raymond

          x   Patient B.R. is identified as Betsy Rubin


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             x   Patient E.S. is identified as Eric Schmalhorst

             x   Patient Do.Su. is identified as Douglas Sutton

             x   Patient WR.T. is identified as William Rankin Tickle

             x   Patient J.T. is identified as Jared Tuck

             x   Patient Ty.Wa. is identified as Ty Walvatne

             x   Patient B.Wh. is identified as Brian White

             x   Patient B.Z. is identified as Brian Zardus

       46.       For those select patient cases in the Section titled UNUSUAL PRESCRIBING

             PATTERN #3: High-dose Stimulants and Stimulants in Combination your affiant was

             able to identify the following patients identified in the report by initials, as follows:

             x   Patient Co.Be. is identified as Corey Becker

             x   Patient Kr.Bi. is identified as Krystin Bilyeu

             x   Patient J.C. is identified as Jordan Cohen

             x   Patient M.C. is identified as Monica Coogan

             x   Patient Ch.Co. is identified as Christopher Corbett

             x   Patient Am.Cr. is identified as Amy Crumb

             x   Patient Ch.Cu. is identified as Christine Culver

             x   Patient Au.Da. is identified as Austin Davis

             x   Patient Ra.Da. is identified as Randy Davis

             x   Patient K.E.is identified as Krista Elen

             x   Patient B.F. is identified as Barbara Farland


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             x   Patient A.G. is identified as Addison Glanville

             x   Patient Je.Lo. is identified as Jessica Logue

             x   Patient L.L. is identified as Lindsay Lansford, and further identified as Lindsey

                 Lansford

             x   Patient Am.Ma. is identified as Amanda Manzanares

             x   Patient K.M. is identified as Kristin McAllister

             x   Patient S.N. is identified as Stanley Nunley

             x   Patient Da.Sp. is identified as David Sparks

             x   Patient Ry.Ro. is identified as Ryan Robson

             x   Patient J.S. is identified as James Shattuck

             x   Patient F.S. is identified as Faith Shirley

             x   Patient Tr.Ye. is identified as Travis Yerre

       47.       For those select patient cases in the Section titled UNUSUAL PRESCRIBING

             PATTERN #4: High-dose Sedatives and Sedatives in Combination your affiant was

             able to identify the following patients identified in the report by initials, as follows:

             x   Patient S.A. is identified as Shannon Altman

             x   Patient T.B. is identified as Tanner Bouchard

             x   Patient J.C-L. is identified as Jaime Chavez-Loya

             x   Patient N.D. is identified as Nina Denton

             x   Patient St.Le. is identified as Steve/Steven Lewis

             x   Patient Sh.Li. is identified as Shelly Liggett


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             x   Patient H.M. is identified as Helen Mitchell

             x   Patient Mi.Po. is identified as Michael Pogar

             x   Patient Co.Ro. is identified as Courtney Roetz

             x   Patient Jo.Sc. is identified as John Schmitz

             x   Patient Da.So. is identified as Daniel Soderberg

             x   Patient S.VD. is identified as Sara VanDittie

             x   Patient Be.Wa. is identified as Bethany Waiss

       48.       In the Section titled THE OHIO PATIENT your affiant was able to identify “THE

             OHIO PATIENT” as Gage Krug, referred to as G.K. in Attachment B.

                                     FINANCIAL INVESTIGATION

       49.       According to the Colorado Department of Labor and Employment records,

             Howard S. Weiss (SSN: XXX-XX-XXXX) has no reported wages.

       50.       According to National Crimes Information Center (NCIC), Howard S. Weiss has a

             criminal history of mail fraud in 1995.

       51.       The investigation revealed that one Currency Transaction Report (CTR) was filed

             on Howard S. Weiss and Anna Weiss (ex-spouse) on January 10, 2013 for a cash

             deposit of $10,470 on December 28, 2012 into an account with Bank of the West.

       52.       The financial information in the following paragraphs was received pursuant to

             Grand Jury subpoenas.

 Facilitating Account – Wells Fargo Bank Account #1723272660




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       53.      The investigation has revealed that on November 3, 2015, Dr. Weiss opened a

             bank account with Wells Fargo Bank (Account #1723272660). The account holder

             was Howard S. Weiss.

       54.      The bank records that have been analyzed for Account #1723272660 show total

             deposits from November 3, 2015 to February 7, 2018 of $632,045.39. The deposits

             include fifty-eight (58) cash deposits totaling $503,985.00, which appear to be

             “structured cash deposits.” Of the fifty-eight (58) cash deposits to the account, forty-

             five are in excess of $9,000.00 but below the $10,000.00 threshold which would

             require the bank to file a CTR. Specifically, those forty-five deposits range from

             $9,060.00 to $9,980.00. The source of the cash deposits is unknown, but this is not a

             normal practice for a psychiatrist business. In addition, there was a deposit on April

             19, 2017 of an IRS tax refund for $111,413.00 into the Wells Fargo account, which is

             not normal.

       55.      Investigators spoke to Wells Fargo Bank employees who handled several of the

             fifty-eight cash deposits into Dr. Weiss’ account (#1723272660).

       56.      Steven Paulukovich, a former lead teller for Wells Fargo Bank at the Denver Tech

             Center (DTC) branch, was interviewed on September 5, 2018. Mr. Paulukovich

             recognized Dr. Weiss in Wells Fargo Bank surveillance camera photos presented to

             him as a bank customer that would come into the DTC branch and make unusually

             large cash deposits approximately every two weeks. Mr. Paulukovich dealt with Dr.

             Weiss at the bank approximately 20 to 30 times. Mr. Paulukovich recalled Dr. Weiss

             wearing a robe-like jacket and pulling a "wad" of cash out from a pocket within the

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             "robe" to be deposited on several occasions. Mr. Paulukovich stated there was a

             money counter next to his teller station and when Dr. Weiss came in to make a cash

             deposit, Dr. Weiss would ask that the cash be counted two or more times. After the

             cash was counted two or more times and the amount was revealed to Dr. Weiss, Dr.

             Weiss would then take back some of the cash so that the deposited amount would not

             be more than $10,000. Dr. Weiss took cash back and told the teller that the excess

             amount was not part of the same deposit. Dr. Weiss mentioned it was easier for his

             patients to pay in cash rather than through medical insurance. Mr. Paulukovich stated

             the cash had a smell or odor of a medical office. Mr. Paulukovich stated other

             customers who worked in the medical field rarely deposited cash into the bank like

             Dr. Weiss. Specifically, if customers employed in the medical field made large cash

             deposits, they generally used an armored courier service or the night drop for security

             purposes.

       57.      Becky Helgesen, a former teller for Wells Fargo Bank at the 7481 East Arapahoe

             Road, Englewood Colorado branch, was interviewed on September 6, 2018. Ms.

             Helgesen was specifically asked about a cash deposit transaction she conducted as a

             teller on July 8, 2016 at the Wells Fargo branch when a customer presented her with

             $10,200 in cash and she returned $300 to the customer so the cash deposit was only

             $9,900 into Wells Fargo Bank Account #1723272660, owned by Dr. Weiss. Ms.

             Helgesen recalled the specific transaction because when she was processing the

             transaction she immediately recognized it as a text book “structuring” transaction, and

             it was her first and only experience with a “structured” cash transaction as a bank

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             teller at both Wells Fargo and the bank she was working at the time of the interview.

             Ms. Helgesen said the customer gave her the cash, which she ran through the money

             counter twice, and when she told the customer the amount totaled $10,200, the

             customer said something to the effect of, “Oh, can I just have that $300?” Ms.

             Helgesen gave the $300 back to the customer, reran the cash through the money

             counter, and deposited the $9,900 into the customer’s account. Ms. Helgesen

             believed the customer knew about the $10,000 threshold for filing a CTR based on

             the customer requesting the $300 back to make the deposit less than $10,000.

       58.      The account was closed on February 7, 2018. The remaining balance of

             $74,155.24 was deposited into a Merrill Lynch account (#85A-15733) held in the

             name of Howard S. Weiss, which is discussed in more detail below.

       59.      Based on the information above, there is probable cause to believe that all funds

             up to $503,985.00 that were deposited into Wells Fargo Bank Account #1723272660

             during the period the account was open constituted proceeds from Dr. Weiss’

             distribution and dispensing of controlled substances without a medical purpose and

             outside the usual course of professional practice. In addition, there is probable cause

             to believe that all funds up to $503,985.00 that were deposited into Wells Fargo Bank

             Account #1723272660 during the period the account was open were laundered

             through this account and structured in order to avoid transaction reporting

             requirements in violation of 18 U.S.C. § 1956 and 31 U.S.C. § 5324. As noted above,

             this account was closed on February 7, 2018. However, it was used to funnel money

             into the other accounts discussed below.

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 Bank of the West Account #40936981

       60.      The investigation also has revealed that Howard S. Weiss, M.D. has a bank

             account with Bank of the West (Account #40936981), which was opened on

             November 4, 2015. This account appears to have been used as an operating account

             for Dr. Weiss’ medical practice.

       61.      Pursuant to a Grand Jury Subpoena, investigators received bank records for the

             period January 4, 2017 through December 21, 2018. These bank records for Bank of

             the West Account #40936981 show total deposits from January 4, 2017 to December

             21, 2018 of $550,635.69. The total deposits include cash deposits of $293,348.00.

             The source of the cash deposits is unknown, but not a normal practice for a

             psychiatrist business. In addition, there were other deposits totaling $257,287.69 into

             the account, which is comprised mostly of checks from patients and medical

             insurance companies. Analysis of the checks deposited into the Bank of the West

             Account (#40936981) shows that more than $57,000.00 was deposited into the

             account through checks written by purported patients identified by Dr. Walter, the

             consulting expert, in the “Case Presentation” section of his report. For example,

             Patient S.VD. (identified in Paragraph 47 as Sara VanDittie) wrote checks totaling

             $11,120.00 to Dr. Weiss that were deposited into the Bank of the West Account

             (#40936981) during 2017-2018. As indicated on page 52, Patient S.VD. was

             prescribed a “high-dose lorazepam concurrently with an excessive dose of Lunesta,”

             which in Dr. Walter’s opinion “is outside of the usual course of professional practice

             and is without a legitimate medical purpose.” Also, there were withdrawals from

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             Bank of the West Account # 0936981 totaling $388,907.28 for rent, billing services,

             credit card payments, taxes and other operational expenses. More specifically, there

             were five checks (#2564 - $72,000, #2595 - $50,000, #2589 - $30,000, #2608 -

             $50,000, and #2622 - $66,000) written to the United States Treasury for estimated tax

             payments from January 19, 2017 to January 18, 2018. This totaled $268,000 in

             estimated tax payments made from Bank of the West Account #40936981.

       62.      Pursuant to a second Grand Jury Subpoena, investigators obtained bank records

             for the period December 22, 2018 through May 21, 2019 for Bank of the West

             Account #40936981. These records show additional total deposits from December

             22, 2018 to May 21, 2019 of $114,026.11. The source of these deposits is unknown

             due to the fact that the records provided by Bank of the West only included the bank

             statements for Account #40936981, and not the underlying documents such as deposit

             slips and checks. However, based on records provided by Merrill Lynch, it is clear

             that on May 21, 2019, check #2693 for $286,000 cleared Bank of the West Account

             #40936981 and was deposited into Merrill Lynch Account #85A-15733, discussed in

             more detail below.

       63.      During the period December 22, 2018 to May 21, 2019, the total amount of

             withdrawals from Bank of the West Account #40936981 was $350,166.85. The

             account balance of Bank of the West Account #40936981 on May 21, 2019 was

             $4,340.52.

       64.      Based on the information above, there is probable cause to believe that Howard

             Weiss, M.D.’s medical practice utilized this account as an operating account, paying

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               rent, billing services, and other operating expenses from this account, while also

               depositing money into this account that is proceeds from Dr. Weiss’ illegal activity of

               dispensing controlled substances without a medical purpose and outside the usual

               course of professional practice. Therefore, Dr. Weiss’ medical practice commingled

               funds in this account, which is indicative of money laundering activities to disguise

               the ownership and nature of any illegal proceeds generated from the illegal dispensing

               of controlled substances. Accordingly, there is probable cause to believe that Dr.

               Weiss’ medical practice was engaged in money laundering in violation of 18 U.S.C. §

               1956 and, therefore, the business and all assets of the business are property involved

               in money-laundering. As a result, the government seeks to seize all funds held in

               Bank of the West Account #40936981.

 Investment Accounts

         65.      From the Wells Fargo Bank (#1723272660) account, the Bank of the West

               (#40936981) account, and the JPMC Bank, N.A. (#938566515) account (discussed in

               more detail below), Dr. Weiss transferred substantial sums of monies into his various

               Merrill Lynch accounts and his Amundi Pioneer Investments account (#85A08F02).5

               Analysis of Merrill Lynch records shows that Dr. Weiss has at least seven investment

               accounts held at Merrill Lynch. The government seeks to seize funds held in three of

               these accounts as discussed below: Dr. Weiss’ investments account (Account #85A-

               15623), Dr. Weiss’ holding account (Account #85A-15733), and Dr. Weiss’ SEP IRA

               (Account #85A-83997). Investigators continue to investigate the other four accounts.


 5 The Amundi Pioneer Investments account is discussed in more detail below and was closed on June 9, 2017.
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       66.      From Wells Fargo Bank Account #1723272660, there has been $561,036.24

             traced to Merrill Lynch investment accounts for the benefit of Howard Weiss from

             August 22, 2016 to February 7, 2018, when it was closed. Specifically, the following

             deposits were made to Merrill Lynch accounts from Wells Fargo Bank Account

             #1723272660:

             Merrill Lynch Account #85A-15733          Merrill Lynch Account #85A-15623

             August 22, 2016         $70,000.00          January 13, 2017      $95,000.00
             April 27, 2017          $103,235.00         April 27, 2017        $20,646.00
             August 21, 2017         $73,000.00          August 21, 2017       $25,000.00
             November 21, 2017       $100,000.00
             February 2, 2018        $74,155.24
             Based on the bank records available to date, this money remains in the Merrill Lynch

             investment accounts.

       Merrill Lynch Accounts #85A-15733 and #85A-83997

       67.      In addition, in July 2016, Dr. Weiss opened an investment account with Amundi

             Pioneer Investments (#85A08F02). The initial contribution of $24,100.00 came from

             Merrill Lynch Account #85A-15733, held in the name of Howard Weiss. On April 3,

             2017, Dr. Weiss transferred $15,667.00 from Wells Fargo Bank Account

             #1723272660 with check #157 into his Amundi Pioneer Investments Account

             #85A08F02. On June 1, 2017, Dr. Weiss made a $39,767.00 contribution from his

             Merrill Lynch Account #85A-15733 to his Amundi Pioneer Investments account

             #85A08F02. The Amundi Pioneer investment account was closed on June 9, 2017

             and the proceeds from the account totaling $82,204.24 were transferred to Merrill

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               Lynch Account #85A-05142, an account held in the name of Howard S. Weiss, MD.6

               Notably, the June 1, 2017 $39,767.00 contribution from Merrill Lynch Account

               #85A-15733 was transferred, via the Amundi Pioneer investment account, to Merrill

               Lynch Account #85A-05142 just over a week after it left Merrill Lynch Account

               #85A-15733.

         68.      The records also confirm deposits totaling $81,029 made into the Merrill Lynch

               investment accounts from JPMC Bank, NA Account #938566515, which was opened

               in the name of Howard S. Weiss on January 29, 2018. The bank records for JPMC

               Bank, NA Account #938566515 show total deposits from January 29, 2018 to

               September 24, 2018 of $85,558.84. The deposits include one cash deposit totaling

               $8,900, which appears to be a “structured cash deposit” below the $10,000.00

               threshold which would require the bank to file a CTR. The source of the cash deposit

               is unknown, but not a normal practice for a psychiatrist business. In addition, there

               was a deposit of $75,000 from Merrill Lynch Account #85A-15733 into JPMC Bank

               Account #938566515 on February 9, 2018. Notably, just over a month later, on

               March 17, 2018, check #98 totaling $81,029 from JPMC Bank Account #938566515

               was deposited into two Merrill Lynch Accounts (#85A-83997 and #85A-15733)

               totaling $45,531 and $35,498, respectively. The JPMC Bank Account #938566515

               had little other activity during this period. Accordingly, the February 9, 2018 $75,000

               deposit from Merrill Lynch Account #85A-15733 and the March 17, 2018 deposit of

               $81,029 from JPMC Bank Account #938566515 into Merrill Lynch Accounts #85A-


 6 At the time of this affidavit, the financial records for Merrill Lynch Account #85A-05142 have not been obtained,
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                83997 and #85A-15733 represent substantial changes in the balance of JPMC Bank

                Account #938566515.

          Other Deposits

          69.      Further analysis of the Merrill Lynch investment accounts shows that on May 6,

                2016 a check (#20271988) from Heritage Title Company totaling $139,476.03 was

                deposited into Merrill Lynch Account #85A-15733. Also, identified were three

                checks totaling $19,000.00 from Bank of America Account #041160300852 from

                Natalie Weiss and one check totaling $493.60 from Wells Fargo Account

                #1010319055159 from Edith E. Weiss that were deposited into Merrill Lynch

                Account #85A-15623. Additionally, on April 13, 2018, a check (#403835622664)

                from United States Treasury totaling $107,912.00 was deposited into Merrill Lynch

                account #85A-15733.

          Updated Merrill Lynch Records

          70.      Pursuant to a second Grand Jury Subpoena, investigators received records on June

                14, 2019 from Merrill Lynch for the three Merrill Lynch accounts discussed herein for

                the period August 1, 2018 through May 31, 2019. Analysis of the records for Merrill

                Lynch Account #85A-15733 shows two checks deposited for $50,000 each on

                September 4, 2018 and February 26, 2019 from unknown sources. Notably, on May

                21, 2019 check #2693 for $286,000 from Bank of the West Account #40936981,

                Howard S. Weiss, M.D.’s operating account discussed above, was deposited into

                Merrill Lynch Account #85A-15733. This represents a substantial deposit from Dr.


 but investigators are in the process of obtaining them.
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             Weiss’ practice’s operating account into Dr. Weiss’ personal investment holding

             account, which resulted in a May 21, 2019 closing balance in the Bank of the West

             Account #40936981 operating account of $4,340.52, as discussed above. As of May

             31, 2019, the account balance of Merrill Lynch Account #85A-15733 was

             $769,581.23.

       71.      Analysis of the records for Merrill Lynch Account #85A-15623 shows $195,000

             transferred from Merrill Lynch Account #85A-15733 to Merrill Lynch Account

             #85A-15623 between August 1, 2018 to May 31, 2019. This includes periodic

             transfers ranging from $20,000 to $50,000. As of May 31, 2019, the account balance

             of Merrill Lynch Account #85A-15623 was $1,864,084.99.

       72.      Analysis of the records for Merrill Lynch Account #85A-83997 shows a transfer

             of $36,000 from Merrill Lynch Account #85A-15733 to Merrill Lynch Account

             #85A-83997 in March of 2019. As of May 31, 2019, the account balance of Merrill

             Lynch Account #85A-83997 was $926,173.92.

       Financial Analysis Conclusion

       73.      Based on the information above, there is probable cause to believe that Howard

             Weiss, M.D.’s medical practice utilized Bank of the West Account #40936981 as an

             operating account, paying rent, billing services, and other operating expenses from

             this account, while also depositing money into this account that is proceeds from Dr.

             Weiss’ illegal activity of dispensing controlled substances without a medical purpose

             and outside the usual course of professional practice. Therefore, Dr. Weiss’ medical

             practice commingled funds in this account, which is indicative of money laundering

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             activities to disguise the ownership and nature of any illegal proceeds generated from

             the illegal dispensing of controlled substances. Accordingly, there is probable cause

             to believe that Dr. Weiss’ medical practice was engaged in money laundering in

             violation of 18 U.S.C. § 1956 and, therefore, the business and all assets of the

             business are property involved in money-laundering. As a result, the government

             seeks to seize all funds held in Bank of the West Account #40936981.

       74.      Based on the information above, there is probable cause to believe that Dr. Weiss

             utilized Merrill Lynch Account #85A-15733 and Merrill Lynch Account #85A-83997

             to commingle proceeds from Dr. Weiss’ illegal activity of dispensing controlled

             substances without a medical purpose and outside the usual course of professional

             practice with other funds, which is indicative of money laundering activities to

             disguise the ownership and nature of any illegal proceeds generated from the illegal

             dispensing of controlled substances. Accordingly, there is probable cause to believe

             that Merrill Lynch Account #85A-15733 and Merrill Lynch Account #85A-83997

             were utilized to launder money in violation of 18 U.S.C. § 1956 and, therefore, all

             funds held in these accounts are property involved in money-laundering. Accordingly,

             the government seeks to seize all funds held in Merrill Lynch Account #85A-15733

             and Merrill Lynch Account #85A-83997.

       75.      Merrill Lynch Account #85A-15623 had a balance of $677,459.50 in January

             2016 and substantial contributions from sources other than those described herein.

             Accordingly, the government is not seeking to forfeit all funds held in the account.

             Based on the information above, as of May 31, 2019, analysis of the records

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             establishes that at least $742,884.00 of contributions to Merrill Lynch Account #85A-

             15623 were funds traced from Wells Fargo Account #1723272660, JPMC Bank

             Account #938566515, and other Merrill Lynch accounts held by Dr. Weiss, which

             represent illegal proceeds from Dr. Weiss’ distribution and dispensing of controlled

             substances without a medical purpose and outside the usual course of professional

             practice. In addition, as of May 31, 2019, analysis of the records establishes that at

             least $97,463.10 of the money held in the account represents growth over time, which

             the government also seeks to seize. Accordingly, the government seeks to seize

             $840,347.10 from Merrill Lynch Account #85A-15623.

                                           CONCLUSION

       76.      Based on the foregoing, there is probable cause to believe that Dr. Howard Weiss

             has distributed and caused to be dispensed controlled substances without a legitimate

             medical purpose and outside the usual course of professional practice; there is

             probable cause to believe Dr. Weiss has participated in the concealment of his

             criminal activities by transacting his business almost exclusively in cash and then

             structuring his deposits in federally insured financial institutions to avoid federal

             reporting requirements.

       77.      I believe based upon my training and experience, as well as the below-described

             regulation regarding the maintenance of medical records, that the patient charts and

             medical records for the above-described patients are maintained at Dr. Weiss’

             practice, which is located at the address described in Attachment A. Also, based on

             my training and experience, I know that most medical practices maintain patient
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             medical records and financial records in both hardcopy and electronic format on

             computers.

       78.       Colorado Revised Statute (C.R.S.) 12-36-140 Protection of medical records –

             licensee’s obligations – verification of compliance – noncompliance grounds for

             discipline rules states:

                   (1) Each licensed physician and physician assistant shall develop a written plan
                   to ensure the security of patient medical records. The plan shall address at
                   least the following: (a) The storage and proper disposal, if appropriate, of
                   patient medical records; (b) The disposition of patient medical records in the
                   event the licensee dies, retires, or otherwise ceases to practice or provide
                   medical care to patients; and (c) The method by which patients may access or
                   obtain their medical records promptly if any of the events described in
                   paragraph (b) of this subsection (1) occurs. (2) Upon initial licensure under this
                   article and upon renewal of a license, the applicant or licensee, as applicable,
                   shall attest to the board that he or she has developed a plan in compliance with
                   this section. (3) A licensee shall inform each patient, in writing, of the method
                   by which the patient may access or obtain his or her medical records if an event
                   described in paragraph (b) of subsection (1) of this section occurs. (4) A
                   licensee who fails to comply with this section shall be subject to discipline in
                   accordance with section 12-36-118. (4) The board may adopt rules as
                   necessary to implement this section.


       79.       The Colorado Medical Board provides direction on the laws, rules and policies as

             related to Medical Practice, including medical record retention and protection. The

             Colorado Medical Board Policies Section on Practice Policies, Statements &

             Guidelines includes subsection 40-7: Guidelines Pertaining to the Retention and

             Release of Medical Records:

                   1(A) Written Plan to Ensure Security of Patient Medical Records, and 1(B)
                   Notice to Patients Regarding Written Plan are covered in the above reference to
                   C.R.S. 12-36-140; 1(C) Retention Period; and 1(D) Disability, Death or
                   Discontinuation of Practice. Of particular relevance is 1(C) Retention Period,
                   which is further explained as (1) The Board recommends retaining all patient
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                  records for a minimum of seven years after the last date of treatment or seven
                  years after the patient reaches age 18, whichever occurs later; and (2) In case
                  of litigation or Board investigation, records must be retained until resolution of
                  the matter or seven years after the last date of treatment or seven years after the
                  patient reaches age 18, whichever occurs later.


       80.      There is also probable cause to believe the evidence, fruits and instrumentalities

             of the crimes set forth herein in Attachment B, incorporated herein by reference, may

             be found inside the premise that has been identified above and in Attachment A.

                                         RECENT UNDERCOVER

       81.      On June 7, 2019, Special Agent Gesi, acting in an undercover capacity, called Dr.

             Weiss, in an attempt to investigate the conduct described above. During multiple

             recorded conversations between SA Gesi and Dr. Weiss, Dr. Weiss confirmed the

             address of his medical practice as 6900 E. Belleview Avenue, Suite 205. Dr. Weiss

             also asked if SA Gesi had looked at Dr. Weiss’ website. Your affiant and SA Gesi

             have both looked at Dr. Weiss’ website, www.howardweissmd.com and observed the

             contact information for Dr. Weiss included “My office is located at: 6900 E.

             Belleview Avenue, Suite 205, Greenwood Village, CO 80111.”

       82.      Your affiant believes the location of Dr. Weiss’ business premises and where Dr.

             Weiss conducts business is 6900 E. Belleview Avenue, Suite 205, Greenwood

             Village, Colorado 80111 because, (a) Dr. Weiss’ registered address with the DEA is

             6900 E. Belleview Avenue, Suite 205, Greenwood Village, CO 80111; (b) Dr. Weiss’

             website showing Dr. Weiss’ office is located at 6900 E. Belleview Avenue, Suite 205,




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             Greenwood Village, CO 80111; and (c) Dr. Weiss confirming with a potential patient

             on June 7, 2019 that his office is located at 6900 E. Belleview Avenue, Suite 205.

                                 SERVICE OF THE SEARCH WARRANT


       83.      Your affiant, or other duly authorized Federal Agents or other authorized local or

             federal law enforcement officials, will personally serve the search warrant requested

             above, and will be assisted by other duly authorized federal investigators, state task

             force officers, federal medical experts and/or computer specialists. Your affiant, any

             other duly authorized Investigator or computer specialist will be present at all times,

             and will personally supervise the execution of this warrant.

       84.      If a computer or electronic database search is authorized, it is the intention of your

             affiant to have a specialist experienced in the seizure of computer evidence be

             available at the search to "image" or copy the material on the office computer systems

             and laptop so that the systems themselves need not be seized. In the event the

             imaging of the systems prove technically impossible, then certain electronic storage

             devices, along with related peripherals, software, related documentation, passwords,

             data security devices, and data may need to be seized so that the data contained

             therein can be searched later by a qualified computer expert in a laboratory or other

             controlled environment. The actual computers will be seized only if absolutely

             necessary.

       85.      Your affiant will make arrangements to copy the seized patient files within 96

             hours of seizure and will return copies of the medical files and charts to Dr. Weiss

             within 5 business days.
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                             SEALING/RESTRICTION OF THIS AFFIDAVIT


       86.      It is respectfully submitted that revelation of this warrant affidavit, which includes

             sensitive information, could jeopardize the ongoing investigations included herein. In

             addition, this affidavit contains confidential patient health care information, financial

             information, and personal identification information, which warrants protection.

             Therefore, it is requested that the Court issue an order pursuant to which this

             Application and Supporting Affidavit be filed and kept under seal or restricted until

             further order from the Court.

       The above information is true and correct to the best of my knowledge.


                                                s/Brenna McIntosh
                                                Brenna McIntosh
                                                Special Agent
                                                Drug Enforcement Administration


                                                _______________________________
                                                UNITED STATES MAGISTRATE JUDGE
                                                DISTRICT OF COLORADO


 Reviewed and submitted by Jaime Pena, Assistant United States Attorney.




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